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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

       UNITED STATES OF AMERICA

             v.                                    No. 19 CR 669

       GREGG SMITH,                                Judge Edmond E. Chang
       MICHAEL NOWAK, and
       JEFFREY RUFFO,

                     Defendants.

                  UNITED STATES’ AMENDED EXHIBIT LIST

      The United States of America, by JOSEPH S. BEEMSTERBOER, Acting Chief

of the Fraud Section, Criminal Division, hereby submits this amended exhibit list in

accordance with the Court’s April 10, 2022 minute entry (ECF No. 495) and Standing

Order Governing Criminal Pretrial & Trial Procedures. The United States reserves

the right to supplement or modify this submission as warranted during ongoing trial

preparations, including to add other documents, demonstratives, visual depictions of

trading activity, or other Rule 1006 summary charts.

Dated: May 5, 2022
                                   Respectfully submitted,

                                   JOSEPH S. BEEMSTERBOER
                                   Acting Chief
                                   Criminal Division, Fraud Section
                                   U.S. Department of Justice

                                   By: /s/Matthew F. Sullivan
                                   Avi Perry, Deputy Chief
                                   Matthew F. Sullivan, Trial Attorney
                                   Lucy Jennings, Trial Attorney
                                   Christopher Fenton, Trial Attorney
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                                                       United States’ Amended Exhibit List



No.     Date                 Description                            Relevance                 BegDocID        EndDocID     Deft Objections
                                                         DOJ proffer letter for July 11 &                                 R. 802 hearsay;
                  Letter to Nick Lewis (Krieger Kim
 1    7/11/2019                                          12, 2019 meetings with Corey       DOJ-0017116621 DOJ-0017116624 R. 608(b)
                  & Lewin)
                                                         Flaum                                                            bolstering
                                                         Cooperation agreement between
                  Cooperation Agreement, United                                                                           R. 802 hearsay;
                                                         Flaum and the Fraud Section,
 2    7/25/2019   States v. Corey Flaum, 19 CR 338                                          DOJ-0017116658 DOJ-0017116665 R. 608(b)
                                                         Criminal Division, of the U.S.
                  (BMC) (E.D.N.Y.)                                                                                        bolstering
                                                         Department of Justice
                  Email from C. Flaum to T.              Flaum statement regarding
 3     8/7/2013   Dinneny, R. Mizrahi, R. Cameron,       Dodd-Frank prohibition on          DOJ-0017009766 DOJ-0017009767 R. 802 hearsay
                  and J. Fox                             disruptive trading practices
                                                         DOJ proffer letter for                                           R. 802 hearsay;
                  Letter to Joseph DiBenedetto (The
 4    7/14/2018                                          September 14, 2018 meeting         DOJ-0017116628 DOJ-0017116630 R. 608(b)
                  Law Office of Joseph DiBenedetto)
                                                         with John Edmonds                                                bolstering
                                                         Plea agreement between John                                      R. 802 hearsay;
                  Letter to Joseph DiBenedetto (The
 5    10/9/2018                                          Edmonds and the U.S.               DOJ-0021561985 DOJ-0021561996 R. 608(b)
                  Law Office of Joseph DiBenedetto)
                                                         Department of Justice                                            bolstering
                                                         Cooperation agreement between                                    R. 802 hearsay;
                  Letter to Joseph DiBenedetto (The
 6    10/9/2018                                          John Edmonds and the U.S.          DOJ-0017116654 DOJ-0017116657 R. 608(b)
                  Law Office of Joseph DiBenedetto)
                                                         Department of Justice                                            bolstering
                                                         Interview regarding John
                  Recorded FBI interview of J.
 7     8/7/2018                                          Edmonds’s trading activity at      DOJ-0017116726 DOJ-0017116726 R. 802 hearsay
                  Edmonds
                                                         JPMorgan
                 Transcript of Deposition of John        John Edmonds’s statements
 8    11/14/2017 Edmonds in Shak v. J.P. Morgan          regarding precious metals          DOJ-0016994909 DOJ-0016995102 R. 802 hearsay
                 Chase & Co., 15 Civ. 994 (S.D.N.Y.)     trading at JPMorgan
                                                         Business rationale for reduction
                  Memo from D. Turnbull to Global
 9    5/30/2017                                          in force and elimination of John   DOJ-0008293705 DOJ-0008293705 R. 401 relevance
                  People Support
                                                         Edmonds’s position
                  Letter from JPMorgan Corporate &       Terms and agreement of John
10     7/1/2017   Investment Bank Human                  Edmonds’s severance from           DOJ-0008293736 DOJ-0008293752 R. 401 relevance
                  Resources to J. Edmonds                JPMorgan




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No.     Date                Description                            Relevance                 BegDocID        EndDocID       Deft Objections
                  Bloomberg Chat with J. Edmonds,      J. Edmonds commenting about
11    4/14/2011                                                                            DOJ-0008996867 DOJ-0008996870 R. 802 hearsay
                  R. Leahy & C. Trunz                  protecting a barrier
                                                       Discussion of CFTC’s review
                                                       related to JPMorgan’s large,                                      R. 401 relevance;
                  Bloomberg Chat with J. Edmonds       short futures position on the                                     R. 403 prejudice,
12    6/16/2009                                                                            DOJ-0008990105 DOJ-0008990109
                  & J. Walpole                         CME and the long OTC position                                     confusion, delay;
                                                       and that they’re “not outright                                    R. 802 hearsay
                                                       manipulating”
                                                       Discussion of John Edmonds as
                  Reuters chat with M. Nowak and
13    9/12/2008                                        a “really good guy” who “sat        DOJ-0010557979 DOJ-0010557979
                  BNP Paribas
                                                       right behind me”
                                                       DOJ proffer letter for August                                     R. 802 hearsay;
                  Letter to Katya Jestin & Anthony
14    8/19/2019                                        19, 2019 meeting with Christian     DOJ-0017116631 DOJ-0017116633 R. 608(b)
                  Barkow (Jenner & Block)
                                                       Trunz                                                             bolstering
                                                       Cooperation agreement between
                  Cooperation Agreement, United                                                                          R. 802 hearsay;
                                                       Trunz and the Fraud Section,
15    8/20/2019   States v. Christian Trunz, 19 CR                                         DOJ-0017116666 DOJ-0017116674 R. 608(b)
                                                       Criminal Division, of the U.S.
                  375 (SJ) (E.D.N.Y.)                                                                                    bolstering
                                                       Department of Justice
                                                       Discussion of surveillance alerts
                                                       triggered by C. Trunz trading in
16    8/17/2016   Email from S. Jackson to M. Nowak    precious metals futures             DOJ-0015483022 DOJ-0015483023 R. 802 hearsay
                                                       contracts between April and
                                                       July 2016
                                                       M. Nowak discussion with
                                                       JPMorgan HR personnel of
17    8/22/2016   Email from G. Newman to Nowak        compliance review of C. Trunz’s     DOJ-0014808949 DOJ-0014808950
                                                       trading and his reaction to that
                                                       process
                                                       C. Trunz discussion with
                                                       JPMorgan HR personnel related                                       R. 802 hearsay;
18    8/23/2016   G. Newman email to C. Trunz                                              DOJ-0014808966 DOJ-0014808966
                                                       to disciplinary process arising                                     R. 401 relevance
                                                       from his trading activity




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                                                       United States’ Amended Exhibit List

No.     Date                 Description                             Relevance                 BegDocID        EndDocID      Deft Objections
                                                         Meeting invite to discuss using
                 Meeting Invite from S. Jackson to
                                                         examples of C. Trunz’s trading
19    11/22/2016 M. Nowak & C. Trunz regarding,                                              DOJ-0014780430 DOJ-0014780430
                                                         at a training on spoofing and
                 “training matter”
                                                         layering
                                                         Discussing proposed training
                                                         slide deck that would use C.
                  Email from J. Cornelius to M.
20     1/9/2017                                          Trunz’s trading as real life        DOJ-0014778289 DOJ-0014778299 R. 802 hearsay
                  Nowak, C. Trunz & S. Jackson
                                                         examples of spoofing and
                                                         layering
                                                         M. Nowak and C. Trunz
                                                         approving proposed training
                  Email from M. Nowak to J.
21     1/9/2017                                          slide deck that uses C. Trunz’s     DOJ-0014778288 DOJ-0014778288
                  Cornelius, C. Trunz & S. Jackson
                                                         trading as real life examples of
                                                         spoofing and layering
                                                         Discussion of training session on
                                                         spoofing and layering that M.
22    1/19/2017   Email from J. Katz to m. Nowak         Nowak conducted and used real       DOJ-0014778305 DOJ-0014778305
                                                         life examples of C. Trunz’s
                                                         trading
                                                         Discussion of location for the
23    1/24/2019   Chat with M. Nowak & C. Trunz          weekly meeting between M.           DOJ-0017491017 DOJ-0017491017
                                                         Nowak and C. Trunz
                                                         Invite for regular catchup
                  Meeting Invite for 2/20/19 from M.     meeting between M. Nowak and
24    2/19/2019   Nowak to C. Trunz regarding            C. Trunz in the months before       DOJ-0017491060 DOJ-0017491060
                  “Catchup”                              C. Trunz’s guilty plea in August
                                                         2019
                                                         Invite for regular catchup
                                                         meeting between M. Nowak and
                  Meeting Invite from M. Nowak to
25    3/25/2019                                          C. Trunz in the months before       DOJ-0017491070 DOJ-0017491070
                  C. Trunz regarding “Catchup”
                                                         C. Trunz’s guilty plea in August
                                                         2019




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No.     Date                 Description                             Relevance                 BegDocID        EndDocID       Deft Objections
                                                         Invite for regular catchup
                  Meeting Invite for 5/10/19 from M.     meeting between M. Nowak and
26    5/9/2019    Nowak to C. Trunz regarding            C. Trunz in the months before       DOJ-0017491046 DOJ-0017491046
                  “Catchup”                              C. Trunz’s guilty plea in August
                                                         2019
                                                         Invite for regular catchup
                  Meeting Invite for 7/24/19 from M.     meeting between M. Nowak and
27    7/24/2019   Nowak to C. Trunz regarding            C. Trunz in the months before       DOJ-0017491053 DOJ-0017491053
                  “Catchup”                              C. Trunz’s guilty plea in August
                                                         2019
                                                         Discussion of trading activity by
                  Bloomberg Chat with M. Nowak &
28    5/27/2008                                          G. Smith on JPMorgan precious       DOJ-0006124522 DOJ-0006124525
                  R. Gottlieb
                                                         metals desk
                                                         Discussion of trading activity in
                  Bloomberg Chat with M. Nowak &         gold by R. Gottlieb and C.
29    5/30/2008                                                                              DOJ-0006124659 DOJ-0006124666
                  R. Gottlieb                            Jordan on JPMorgan precious
                                                         metals desk
                                                         Discussion by C. Jordan and R.
                                                                                                                           R. 802 hearsay;
                  Bloomberg Chat with C. Jordan &        Gottlieb regarding trading
30    6/23/2008                                                                              DOJ-0000000067 DOJ-0000000087 R. 403 prejudice,
                  R. Gottlieb (and others)               strategies, including placing
                                                                                                                           confusion, delay
                                                         bids in order to sell
                                                         Discussion of trading activity by                                 R. 401 relevance;
                  Bloomberg Chat with C. Jordan &
31    8/19/2008                                          C. Jordan on JPMorgan               DOJ-0000000988 DOJ-0000000991 R. 403 prejudice,
                  J. Leeks (Goldman Sachs)
                                                         precious metals desk                                              confusion, delay
                                                         Discussion of trading activity
                                                         updates for the JPMorgan
                  Bloomberg Chat with M. Simonian        precious metals desk between
32    8/21/2008                                                                              DOJ-0006128496 DOJ-0006128502 R. 802 hearsay
                  & F. Amato                             M. Simonian and F. Amato,
                                                         including trading instructions
                                                         for O. Weldon
33        -       Intentionally Left Blank
34        -       Intentionally Left Blank




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                                                       United States’ Amended Exhibit List

No.     Date                  Description                           Relevance                   BegDocID        EndDocID       Deft Objections
                                                         Discussion of trading activity by
                                                         C. Jordan on JPMorgan                                              R. 802 hearsay;
                   Bloomberg Chat with C. Jordan &
35    10/13/2008                                         precious metals desk and C.          DOJ-0000002487 DOJ-0000002490 R. 403 prejudice,
                   R. Eyles
                                                         Jordan providing updates on                                        confusion, delay
                                                         status of orders for R. Eyles
36        -        Intentionally Left Blank
                                                         Discussion of trading activity by
                   Bloomberg Chat with C. Trunz &
37    2/24/2009                                          G. Smith on JPMorgan precious        DOJ-0000038049 DOJ-0000038056
                   O. Beane
                                                         metals desk
                                                         J. Ruffo providing market color
                                                         and real-time updates on
                   Bloomberg Chat with J. Ruffo & J.     trading activity in the precious
38    3/31/2009                                                                               DOJ-0009335060 DOJ-0009335062
                   Phelan (Tudor)                        metals markets; receiving
                                                         orders from J. Phelan and
                                                         providing updates re: same
39        -        Intentionally Left Blank
                                                         Email providing recap of trading
                                                         activity for the JPMorgan
                   Email from D. Turnbull to
40     4/8/2009                                          precious metals desk, including      DOJ-0015769858 DOJ-0015769859 R. 802 hearsay
                   JPMorgan Precious Metals Desk
                                                         market color and updates on
                                                         counterparties.
                                                         C. Jordan describing his trading
                                                                                                                            R. 802 hearsay;
                   Bloomberg Chat with C. Jordan &       strategy involving hidden offers
41     9/3/2009                                                                               DOJ-0000018188 DOJ-0000018190 R. 403 prejudice,
                   R. Eyles                              and providing updates on status
                                                                                                                            confusion, delay
                                                         of orders for R. Eyles
                                                         J. Ruffo providing market color
                   Bloomberg Chat with J. Ruffo & J.
42    9/15/2009                                          and updates on trading activity      DOJ-0010673430 DOJ-0010673431
                   Phelan (Tudor)
                                                         in the precious metals markets
                                                         Discussion of trading activity for
                   Bloomberg Chat with R. Gottlieb &     the JPMorgan precious metals
43    9/24/2009                                                                               DOJ-0009079571 DOJ-0009079575 R. 802 hearsay
                   O. Weldon                             desk and related precious
                                                         metals market updates




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No.     Date                 Description                           Relevance                    BegDocID        EndDocID     Deft Objections
                                                                                                                            R. 802 hearsay;
                                                         Discussion of trading activity by
                                                                                                                            R. 401 relevance;
44    10/15/2009 C. Jordan email to J. Mazzella          C. Jordan on JPMorgan                DOJ-0008239247 DOJ-0008239247
                                                                                                                            R. 403 prejudice,
                                                         precious metals desk
                                                                                                                            confusion, delay
                                                                                                                            R. 802 hearsay;
                                                         Discussion of trading activity by
                   Bloomberg Chat with C. Jordan &                                                                          R. 401 relevance;
45    10/15/2009                                         C. Jordan on JPMorgan                DOJ-0000020708 DOJ-0000020708
                   S. Jamison (Jamison Capital)                                                                             R. 403 prejudice,
                                                         precious metals desk
                                                                                                                            confusion, delay
                                                                                                                            R. 802 hearsay;
                                                         Discussion of trading activity by
                   Bloomberg Chat with C. Jordan &                                                                          R. 401 relevance;
46    10/26/2009                                         C. Jordan on JPMorgan                DOJ-0000021320 DOJ-0000021321
                   J. Leeks (Goldman Sachs)                                                                                 R. 403 prejudice,
                                                         precious metals desk
                                                                                                                            confusion, delay
                                                         Discussion of trading activity by
                   Bloomberg Chat with M. Nowak &
47    11/18/2009                                         S. Piller on JPMorgan precious       DOJ-0006157075 DOJ-0006157076
                   S. Piller
                                                         metals desk
                                                         Discussion of trading activity for
                                                                                                                            R. 401 relevance;
                   Bloomberg Chat with C. Trunz &        the JPMorgan precious metals
48    12/3/2009                                                                               DOJ-0000071261 DOJ-0000071263 R. 403 prejudice,
                   O. Beane                              desk including G. Smith trading
                                                                                                                            confusion, delay
                                                         activity
                   Bloomberg Chat with C. Trunz &        Discussion of trading activity in
49    12/9/2009                                                                               DOJ-0009407098 DOJ-0009407101 R. 802 hearsay
                   O. Beane                              the precious metals markets
                                                         J. Ruffo providing market color
                   Bloomberg Chat with J. Ruffo & C.
50    12/15/2009                                         and updates on trading activity      DOJ-0010675229 DOJ-0010675229
                   Harris (Phibro)
                                                         in the precious metals markets
                                                         Email providing updates on C.
                   C. Trunz and G. Smith email
51    12/16/2009                                         Trunz trading activity on the        DOJ-0015799114 DOJ-0015799114
                   exchange
                                                         JPMorgan precious metals desk
                                                         Discussion of trading activity in
                   Bloomberg Chat with R. Eyles and      the precious metals markets,
52    2/11/2010                                                                               DOJ-0003454094 DOJ-0003454096
                   G. Smith                              including comments on
                                                         algorithmic traders




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                                                      United States’ Amended Exhibit List

No.     Date                 Description                           Relevance                  BegDocID        EndDocID      Deft Objections
                                                        J. Ruffo providing market color
                                                        and updates on trading activity
                  Bloomberg Chat with J. Ruffo & J.
53    2/25/2010                                         in the precious metals markets;     DOJ-0010676758 DOJ-0010676760
                  Giunta (Moore)
                                                        receiving orders from J. Giunta
                                                        and providing updates re: same
                                                        Discussion of trading activity in
                                                        the precious metals markets,
                  Bloomberg Chat with J. Edmonds
54    4/6/2010                                          including trading activity by C.    DOJ-0008250690 DOJ-0008250691 R. 802 hearsay
                  & C. Jordan (Credit Suisse)
                                                        Jordan on Credit Suisse
                                                        precious metals desk
                                                        J. Ruffo providing market color
                  Bloomberg Chat with J. Ruffo & J.
55    4/9/2010                                          and updates on trading activity     DOJ-0010677638 DOJ-0010677638
                  Phelan (Tudor)
                                                        in the precious metals markets
56        -       Intentionally Left Blank
                                                        Discussion of trading activity in
                                                        the precious metals markets,
                  Bloomberg Chat with J. Edmonds
57    5/13/2010                                         including J. Edmonds trading        DOJ-0003689111 DOJ-0003689113 R. 802 hearsay
                  & C. Jordan (Credit Suisse)
                                                        activity on JPMorgan precious
                                                        metals desk
                                                        Discussion of trading activity in
                                                        the precious metals markets,
                  Bloomberg Chat with J. Edmonds
58    5/14/2010                                         including trading activity by C.    DOJ-0008263959 DOJ-0008263959 R. 802 hearsay
                  & C. Jordan (Credit Suisse)
                                                        Jordan on Credit Suisse
                                                        precious metals desk
                                                        Discussion of trading activity in
                                                        the precious metals markets,
                  Bloomberg Chat with J. Edmonds
59    6/9/2010                                          including trading activity by C.    DOJ-0009786276 DOJ-0009786278 R. 802 hearsay
                  & C. Jordan (Credit Suisse)
                                                        Jordan on Credit Suisse
                                                        precious metals desk
                                                        J. Ruffo providing market color
                  Bloomberg Chat with J. Ruffo & J.
60    7/13/2010                                         and updates on trading activity     DOJ-0010679414 DOJ-0010679414
                  Phelan (Tudor)
                                                        in the precious metals markets




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                                                    United States’ Amended Exhibit List

No.     Date                Description                         Relevance                   BegDocID        EndDocID       Deft Objections
                                                      Discussion of trading activity in
                  Bloomberg Chat with J. Edmonds      precious metals markets,                                            R. 802 hearsay;
61    11/3/2010                                                                           DOJ-0003712826 DOJ-0003712831
                  & R. Leahy                          including updates from J.                                           R. 401 relevance
                                                      Edmonds on trading activity
                                                      Discussion of trading activity by
                  Bloomberg Chat with M. Nowak &
62    1/7/2011                                        M. Nowak on JPMorgan                DOJ-0006195403 DOJ-0006195426
                  S. Piller
                                                      precious metals desk
                                                                                                                        R. 802 hearsay;
                  Bloomberg Chat with C. Jordan &     Discussion of trading activity in
63    3/16/2011                                                                           DOJ-0003733496 DOJ-0003733508 R. 403 prejudice,
                  J. Edmonds                          the precious metals markets
                                                                                                                        confusion, delay
                  Bloomberg Chat with C. Jordan &   Discussion of trading activity in
64    3/28/2011                                                                           DOJ-0008996572 DOJ-0008996580 R. 802 hearsay
                  J. Edmonds                        the precious metals markets
                                                    Discussion of trading activity in
                  Bloomberg Chat with C. Jordan &   the precious metals markets
65    3/31/2011                                                                           DOJ-0008996621 DOJ-0008996628 R. 802 hearsay
                  J. Edmonds                        and commenting on algorithmic
                                                    traders
                                                    Discussion of trading activity in
                                                    the precious metals markets,                                        R. 802 hearsay;
                  Yahoo Chat with C. Jordan (First
66    6/16/2011                                     commenting on algorithmic             DOJ-0008305012 DOJ-0008305013 R. 403 prejudice,
                  New York Securities) & J. Edmonds
                                                    traders, and discussing trading                                     confusion, delay
                                                    strategy
                                                    Discussion of trading activity in
                  Yahoo Chat with C. Jordan (First  the precious metals markets
67    7/15/2011                                                                           DOJ-0008306425 DOJ-0008306426 R. 802 hearsay
                  New York Securities) & J. Edmonds and commenting on algorithmic
                                                    traders
                                                                                                                        R. 802 hearsay;
                  Yahoo Chat with C. Jordan (First  Discussion of trading activity in
68    8/22/2011                                                                           DOJ-0008308025 DOJ-0008308025 R. 403 prejudice,
                  New York Securities) & J. Edmonds the precious metals markets
                                                                                                                        confusion, delay




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No.     Date                 Description                             Relevance                 BegDocID        EndDocID      Deft Objections
                                                         Discussion of trading activity in
                                                         the precious metals markets
                   Bloomberg Chat with M. Nowak &        and M. Nowak commenting that
69    1/30/2012                                                                              DOJ-0006257753 DOJ-0006257754
                   W. Capps (Morgan Stanley)             spoofing by placing large bids
                                                         and cancelling them is not
                                                         permitted
                                                         J. Ruffo providing market color
                   Bloomberg Chat with J. Ruffo & J.
70    3/10/2012                                          and updates on trading activity     DOJ-0009341495 DOJ-0009341495
                   Phelan (Tudor)
                                                         in the precious metals markets
                                                         J. Ruffo providing market color
                   Bloomberg Chat with J. Ruffo & J.
71     5/2/2012                                          and updates on trading activity     DOJ-0014516000 DOJ-0014516000
                   Ragusa (Soros)
                                                         in the precious metals markets
                                                         J. Ruffo providing market color
                   Bloomberg Chat with J. Ruffo & J.
72    5/10/2012                                          and updates on trading activity     DOJ-0014516179 DOJ-0014516179
                   Phelan (Tudor)
                                                         in the precious metals markets
                                                         J. Ruffo providing market color
                   Bloomberg Chat with J. Ruffo & J.
73    7/16/2012                                          and updates on trading activity     DOJ-0014517645 DOJ-0014517645 R. 401 relevance
                   Giunta (Moore)
                                                         in the precious metals markets
                                                         Discussion of trading activity in
                                                         the precious metals markets, M.
                   Bloomberg Chat with A. Larkin, M.
74    11/12/2012                                         Nowak receiving orders from G.      DOJ-0006310285 DOJ-0006310289
                   Nowak & G. Sutton (Paulson)
                                                         Sutton and providing updates
                                                         re: same
                                                         M. Nowak commenting to S.
                   Bloomberg Chat with M. Nowak &        Piller regarding Nowak’s
75    3/21/2013                                                                              DOJ-0006367265 DOJ-0006367272
                   S. Piller                             progress in attempting to sell
                                                         gold
                                                         Email providing recap of trading
                                                         activity for the JPMorgan
                   Email from D. Turnbull to                                                                                 R. 802 hearsay; R.
76    8/14/2013                                          precious metals desk, including     DOJ-0017399355 DOJ-0017399356
                   JPMorgan Precious Metals Desk                                                                             401 relevance
                                                         market color and updates on
                                                         counterparties.




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No.     Date                  Description                              Relevance                 BegDocID        EndDocID      Deft Objections
                                                           Telephone call between J.
                   Recorded call between Edmonds &         Edmonds and D. Turnbull re:
77    8/14/2013                                                                                DOJ-0021107203 DOJ-0021107203
                   Turnbull (audio file)                   trading activity by Edmonds for
                                                           Turnbull
                                                           Telephone call between J.
                   Transcript of recorded call between     Edmonds and D. Turnbull re:
78    8/14/2013                                                                                DOJ-0021107303 DOJ-0021107303
                   J. Edmonds & D. Turnbull                trading activity by Edmonds for
                                                           Turnbull
                                                           Telephone call between J.
                   Recorded call between Edmonds &         Edmonds and D. Turnbull re:
79    8/14/2013                                                                                DOJ-0021107204 DOJ-0021107204
                   Turnbull (audio file)                   trading activity by Edmonds for
                                                           Turnbull
                                                           Telephone call between J.
                   Transcript of recorded call between     Edmonds and D. Turnbull re:
80    8/14/2013                                                                                DOJ-0021107304 DOJ-0021107304
                   J. Edmonds & D. Turnbull                trading activity by Edmonds for
                                                           Turnbull
                                                           Showing J. Edmonds filling an
                   Excerpt from JPMorgan’s Athena
81    8/14/2013                                            order for palladium and             DOJ-0020000120 DOJ-0020000120
                   trade blotter system
                                                           transferring it to D. Turnbull
                                                           Discussion of trading activity in
                   Bloomberg Chat with D. Perlman,         the precious metals markets, G.
82    1/15/2015    G. Smith, J. Edmonds & G. Sutton        Smith receiving orders from G.      DOJ-0003578805 DOJ-0003578810
                   (Paulson)                               Sutton and providing updates
                                                           re: same
                                                           Email providing recap of trading
                                                           activity for the JPMorgan
                   Email from M. Turner to JPMorgan
83    10/22/2015                                           precious metals desk, including     DOJ-0015312974 DOJ-0015312974 R. 802 hearsay
                   Precious Metals Desk
                                                           market color and updates on
                                                           counterparties.
                                                           J. Ruffo receiving order to sell
                   Bloomberg Chat with J. Ruffo & C.
84     3/6/2008                                            gold from C. Pia and providing      DOJ-0010658845 DOJ-0010658846
                   Pia (Moore)
                                                           updates on its status




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No.     Date                Description                             Relevance                   BegDocID        EndDocID      Deft Objections
                                                        Contains time zone information
                  Bloomberg Chat with J. Ruffo & C.
85    3/5/2008                                          for Bloomberg chat of the same        DOJ-0021413456 DOJ-0021413456
                  Pia (.xml file)
                                                        date
                                                        Discussing trading activity in
                  Bloomberg Chat with M. Nowak          the precious metals markets,
86    4/3/2008                                                                                DOJ-0006123202 DOJ-0006123205
                  and J. Ruffo                          including J. Ruffo’s need to offer
                                                        in order to fill orders to buy gold
                                                        J. Ruffo receiving an order to
                  Bloomberg Chat with J. Ruffo & C.
87    4/3/2008                                          sell silver from C. Pia and           DOJ-0010659131 DOJ-0010659133
                  Pia (Moore)
                                                        providing updates on its status
                                                        Contains time zone information
                  Bloomberg Chat with J. Ruffo & C.
88    4/3/2008                                          for Bloomberg chat of the same        DOJ-0021414150 DOJ-0021414150
                  Pia (Moore) (.xml file)
                                                        date
                                                        Discussion of trading activity in
                                                        the precious metals markets
                  Bloomberg Chat with J. Ruffo & J.     and J. Ruffo providing updates
89    4/3/2008                                                                                DOJ-0010659141 DOJ-0010659142
                  Giunta (Moore)                        on status of orders for J. Giunta,
                                                        including J. Ruffo’s need to offer
                                                        in order to fill orders to buy gold
                                                        Contains time zone information
                  Bloomberg Chat with J. Ruffo & J.
90    4/3/2008                                          for Bloomberg chat of the same        DOJ-0021414152 DOJ-0021414152
                  Giunta (Moore) (.xml file)
                                                        date
                                                        J. Ruffo providing market color
                                                        and updates on trading activity
                  Bloomberg Chat with J. Ruffo & J.
91    8/7/2008                                          in the precious metals markets;       DOJ-0009334099 DOJ-0009334101 R. 401 relevance
                  Giunta (Moore)
                                                        receiving orders from J. Giunta
                                                        and providing updates re: same
                                                        J. Ruffo providing market color
                                                        and updates on trading activity
                  Bloomberg Chat with J. Ruffo & J.
92    10/3/2008                                         in the precious metals markets;       DOJ-0010665211 DOJ-0010665212
                  Giunta (Moore)
                                                        receiving orders from J. Giunta
                                                        and providing updates re: same




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No.     Date                Description                           Relevance                 BegDocID        EndDocID     Deft Objections
                                                                                                                        R. 401 relevance;
                                                        J. Ruffo providing market color
                  Bloomberg Chat with J. Ruffo & R.                                                                     R. 403 prejudice,
93    6/4/2009                                          and updates on trading activity   DOJ-0010671933 DOJ-0010671933
                  McIntyre                                                                                              confusion, delay;
                                                        in the precious metals markets
                                                                                                                        R. 802 hearsay
                                                        J. Ruffo providing market color
                                                        and updates on trading activity
                  Bloomberg Chat with J. Ruffo & J.
94    2/4/2010                                          in the precious metals markets;   DOJ-0010676233 DOJ-0010676234
                  Giunta (Moore)
                                                        receiving orders from J. Giunta
                                                        and providing updates re: same
                                                        J. Ruffo providing market color
                                                        and updates on trading activity
                  Bloomberg Chat with J. Ruffo & J.
95    5/6/2010                                          in the precious metals markets;   DOJ-0009337389 DOJ-0009337391
                  Phelan (Tudor)
                                                        receiving orders from J. Phelan
                                                        and providing updates re: same
                                                        J. Ruffo providing market color
                                                        and updates on trading activity
                  Bloomberg Chat with J. Ruffo & J.
96    5/24/2010                                         in the precious metals markets;   DOJ-0010678582 DOJ-0010678583
                  Giunta (Moore)
                                                        receiving orders from J. Giunta
                                                        and providing updates re: same
                                                        Contains time zone information
                  Bloomberg Chat with J. Ruffo & J.
97    5/24/2010                                         for Bloomberg chat of the same    DOJ-0021315151 DOJ-0021315151
                  Giunta (Moore) (.xml file)
                                                        date
                                                        J. Ruffo providing market color
                                                        and updates on trading activity
                  Bloomberg Chat with J. Ruffo & J.
98    6/4/2010                                          in the precious metals markets;   DOJ-0010678814 DOJ-0010678822 R. 401 relevance
                  Giunta (Moore)
                                                        receiving orders from J. Giunta
                                                        and providing updates re: same
                                                        J. Ruffo providing market color
                  Bloomberg Chat with J. Ruffo & J.
99    7/1/2010                                          and updates on trading activity   DOJ-0010679275 DOJ-0010679275 R. 401 relevance
                  Phelan (Tudor)
                                                        in the precious metals markets




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No.     Date                 Description                            Relevance                BegDocID        EndDocID      Deft Objections
                                                         J. Ruffo providing market color
                                                         and updates on trading activity
                   Bloomberg Chat with J. Ruffo & J.
100    7/1/2010                                          in the precious metals markets;   DOJ-0010679286 DOJ-0010679287 R. 401 relevance
                   Phelan (Tudor)
                                                         receiving orders from J. Phelan
                                                         and providing updates re: same
                                                         J. Ruffo providing market color
                                                         and updates on trading activity
                   Bloomberg Chat with J. Ruffo & J.
101   9/16/2010                                          in the precious metals markets;   DOJ-0010680234 DOJ-0010680236 R. 401 relevance
                   Giunta (Moore)
                                                         receiving orders from J. Giunta
                                                         and providing updates re: same
                                                         J. Ruffo providing market color
                                                         and updates on trading activity
                   Bloomberg Chat with J. Ruffo & J.
102   10/8/2010                                          in the precious metals markets;   DOJ-0010680620 DOJ-0010680622
                   Giunta (Moore)
                                                         receiving orders from J. Giunta
                                                         and providing updates re: same
                                                         J. Ruffo providing market color
                                                         and updates on trading activity
                   Bloomberg Chat with J. Ruffo & J.
103   10/14/2010                                         in the precious metals markets;   DOJ-0010680742 DOJ-0010680743
                   Giunta (Moore)
                                                         receiving orders from J. Giunta
                                                         and providing updates re: same
                                                         Contains time zone information
                   Bloomberg Chat with J. Ruffo & J.
104   10/14/2010                                         for Bloomberg chat of the same    DOJ-0021413458 DOJ-0021413458
                   Giunta (Moore) (.xml file)
                                                         date
                                                         J. Ruffo providing market color
                                                         and updates on trading activity
                   Bloomberg Chat with J. Ruffo & J.
105   12/12/2011                                         in the precious metals markets;   DOJ-0009340898 DOJ-0009340902
                   Giunta (Moore)
                                                         receiving orders from J. Giunta
                                                         and providing updates re: same
                                                         Contains time zone information
                   Bloomberg Chat with J. Ruffo & J.
106   12/12/2011                                         for Bloomberg chat of the same    DOJ-0021414149 DOJ-0021414149
                   Giunta (Moore) (.xml file)
                                                         date




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No.     Date                 Description                            Relevance                BegDocID        EndDocID      Deft Objections
                                                         J. Ruffo providing market color
                                                         and updates on trading activity
                   Bloomberg Chat with J. Ruffo & J.
107   1/18/2012                                          in the precious metals markets;   DOJ-0009341005 DOJ-0009341007
                   Phelan (Tudor)
                                                         receiving orders from J. Phelan
                                                         and providing updates re: same
                                                         Contains time zone information
                   Chat with Ruffo & Phelan (.xml
108   1/18/2012                                          for Bloomberg chat of the same    DOJ-0021315167 DOJ-0021315167
                   file)
                                                         date
                                                         J. Ruffo providing market color
                                                         and updates on trading activity
                   Bloomberg Chat with J. Ruffo & J.
109   7/12/2012                                          in the precious metals markets;   DOJ-0014517580 DOJ-0014517580
                   Giunta (Moore)
                                                         receiving orders from J. Giunta
                                                         and providing updates re: same
                                                         Contains time zone information
                   Bloomberg Chat with J. Ruffo & J.
110   7/12/2012                                          for Bloomberg chat of the same    DOJ-0021315172 DOJ-0021315172
                   Giunta (Moore) (.xml file)
                                                         date
                                                         J. Ruffo providing market color
                                                         and updates on trading activity
                   Bloomberg Chat with J. Ruffo & J.
111   11/28/2012                                         in the precious metals markets;   DOJ-0014520790 DOJ-0014520792
                   Phelan (Tudor)
                                                         receiving orders from J. Phelan
                                                         and providing updates re: same
                                                         J. Ruffo providing market color
                                                         and updates on trading activity
                   Bloomberg Chat with J. Ruffo & J.
112   5/15/2013                                          in the precious metals markets;   DOJ-0014525691 DOJ-0014525692
                   Giunta (Moore)
                                                         receiving orders from J. Giunta
                                                         and providing updates re: same
                                                         Contains time zone information
                   Bloomberg Chat with J. Ruffo & J.
113   5/15/2013                                          for Bloomberg chat of the same    DOJ-0021562083 DOJ-0021562083
                   Giunta (Moore) (.xml file)
                                                         date
                                                         J. Ruffo providing market color
                                                         and updates on trading activity
                   Bloomberg Chat with J. Ruffo & J.
114   3/12/2014                                          in the precious metals markets;   DOJ-0014533176 DOJ-0014533179 R. 401 relevance
                   Giunta (Moore)
                                                         receiving orders from J. Giunta
                                                         and providing updates re: same


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No.     Date               Description                              Relevance                 BegDocID        EndDocID      Deft Objections
                 Bloomberg Chat with J. Ruffo, G.       Discussion of trading activity in
115   11/19/2014                                                                            DOJ-0003575126 DOJ-0003575127 R. 401 relevance
                 Smith & A. Ebling                      the precious metals markets
                                                        J. Ruffo providing market color
                                                        and updates on trading activity
                  Bloomberg Chat with J. Ruffo & J.
116   1/22/2015                                         in the precious metals markets;     DOJ-0009348584 DOJ-0009348585
                  Giunta (Moore)
                                                        receiving orders from J. Giunta
                                                        and providing updates re: same
                                                        S. Piller begins to chat with M.
                  Bloomberg Chat with M. Nowak &
117    7/2/2010                                         Nowak and suggests they take it     DOJ-0010570163 DOJ-0010570163
                  S. Piller
                                                        off Bloomberg chat
                                                        Discussion of trading activity in
                                                        precious metals markets, M.
                                                        Nowak placing orders for
                  Bloomberg Chat with M. Nowak,
                                                        JPMorgan precious metals desk,
                  M. Simonian, J. Edmonds, J.                                                                               R. 802 hearsay; R.
118   7/28/2011                                         and TFS brokers provide             DOJ-0006746042 DOJ-0006746049
                  Moskowitz (TFS) & R. Harrison                                                                             401 relevance
                                                        updates on status of orders for
                  (TFS)
                                                        M. Nowak. Edmonds suggests
                                                        R. Harrison comment should not
                                                        have been made in a chat
                                                        Discussing the timeline for
                  Bloomberg Chat with M. Nowak, R.
119   5/16/2008                                         transition of Bear Stearns          DOJ-0006124219 DOJ-0006124221
                  Gottlieb & R. Eyles
                                                        traders over to JPMorgan
                  Bloomberg Chat with M. Nowak &        Discussing R. Gottlieb’s first
120    6/2/2008                                                                             DOJ-0006124702 DOJ-0006124707
                  R. Gottlieb                           day at JPMorgan
                                                        Discussing the transition of
                  Bloomberg Chat with M. Nowak &        Bear Stearns traders over to
121   3/27/2008                                                                             DOJ-0006123102 DOJ-0006123106
                  S. Piller                             JPMorgan and potential roles
                                                        on the precious metals desk
                                                        Discussing the transition of
                                                        Bear Stearns traders over to
                  Bloomberg Chat with M. Nowak &
122   3/31/2008                                         JPMorgan and the close              DOJ-0006123132 DOJ-0006123136 R. 802 hearsay
                  R. Gottlieb
                                                        relationship between G. Smith
                                                        and J. Ruffo



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No.     Date                 Description                          Relevance                 BegDocID       EndDocID       Deft Objections
                                                       Discussing the transition of
                                                       Bear Stearns traders over to
                  Bloomberg Chat with M. Nowak &
123    4/3/2008                                        JPMorgan and the assignment        DOJ-0006123184 DOJ-0006123189
                  R. Gottlieb
                                                       of gold and silver trading
                                                       between G. Smith and C. Jordan
                                                       Discussing the transition of
                  Bloomberg Chat with M. Nowak &       Bear Stearns traders over to
124    4/7/2008                                                                           DOJ-0006123230 DOJ-0006123236
                  R. Gottlieb                          JPMorgan and J. Edmonds and
                                                       C. Trunz as junior employees
                                                       Screenshot of software program
125   10/11/2013 Email from G. Smith to E. Ferrara     used to trade precious metals      DOJ-0021577575 DOJ-0021577576
                                                       futures on the CME
                                                       AFR is an internal reporting
                                                       and credit mechanism used by
                  2008 - 2012 Allocated Franchise      JPMorgan to report on the value
                  Revenue (“AFR”) attributed to        associated with a specific
126   2008-2012                                                                           DOJ-0021413657 DOJ-0021413657
                  JPMC salesperson for precious        customer and to assign credit to
                  metals trading                       a salesperson’s (e.g., J. Ruffo)
                                                       contribution for coverage of a
                                                       customer
                                                       AFR is an internal reporting
                                                       and credit mechanism used by
                                                       JPMorgan to report on the value
                  2013 AFR attributed to JPMC
                                                       associated with a specific
127     2013      salesperson for precious metals                                         DOJ-0021413658 DOJ-0021413658
                                                       customer and to assign credit to
                  trading
                                                       a salesperson’s (e.g., J. Ruffo)
                                                       contribution for coverage of a
                                                       customer




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No.   Date              Description                         Relevance                 BegDocID        EndDocID       Deft Objections
                                                 AFR is an internal reporting
                                                 and credit mechanism used by
                                                 JPMorgan to report on the value
             2014 AFR attributed to JPMC
                                                 associated with a specific
128   2014   salesperson for precious metals                                        DOJ-0021413659 DOJ-0021413659
                                                 customer and to assign credit to
             trading
                                                 a salesperson’s (e.g., J. Ruffo)
                                                 contribution for coverage of a
                                                 customer
                                                 AFR is an internal reporting
                                                 and credit mechanism used by
                                                 JPMorgan to report on the value
             2015 AFR attributed to JPMC
                                                 associated with a specific
129   2015   salesperson for precious metals                                        DOJ-0021413660 DOJ-0021413660
                                                 customer and to assign credit to
             trading
                                                 a salesperson’s (e.g., J. Ruffo)
                                                 contribution for coverage of a
                                                 customer
                                                 AFR is an internal reporting
                                                 and credit mechanism used by
                                                 JPMorgan to report on the value
             2016 AFR attributed to JPMC
                                                 associated with a specific
130   2016   salesperson for precious metals                                        DOJ-0021413661 DOJ-0021413661
                                                 customer and to assign credit to
             trading
                                                 a salesperson’s (e.g., J. Ruffo)
                                                 contribution for coverage of a
                                                 customer
                                                 Manual applicable to
                                                 JPMorgan’s precious metals
                                                                                                                  R. 401 relevance;
             J.P. Morgan Energy Compliance       desk and includes a discussion
131   2008                                                                          DOJ-0008290300 DOJ-0008290330 R. 403 prejudice,
             Manual                              of the CFTC and the Commodity
                                                                                                                  confusion, delay
                                                 Exchange Act’s prohibition on
                                                 manipulation




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No.     Date                 Description                       Relevance                 BegDocID       EndDocID       Deft Objections
                                                     Manual applicable to
                                                     JPMorgan’s precious metals
                                                     desk and includes a discussion
                   J.P. Morgan Ventures Energy       of the CFTC, the Commodity                                     R. 401 relevance;
132    5/7/2010    Corporation Compliance Manual     Exchange Act’s prohibition on    DOJ-0008290362 DOJ-0008290439 R. 403 prejudice,
                   (Version 2)                       manipulation and attempted                                     confusion, delay
                                                     manipulation, and conduct that
                                                     may suggest manipulation such
                                                     as uneconomic trading activity
                                                     Manual applicable to
                                                     JPMorgan’s precious metals
                                                     desk and includes a discussion
                   J.P. Morgan Ventures Energy       of the CFTC, the Commodity                                     R. 401 relevance;
133   5/11/2011    Corporation Compliance Manual     Exchange Act’s prohibition on    DOJ-0008290596 DOJ-0008290673 R. 403 prejudice,
                   (Version 3)                       manipulation and attempted                                     confusion, delay
                                                     manipulation, and conduct that
                                                     may suggest manipulation such
                                                     as uneconomic trading activity
                                                     Manual applicable to
                                                     JPMorgan’s precious metals
                                                     desk and includes a discussion
                   J.P. Morgan North American        of the CFTC, the Commodity
134   Sept. 2012   Commodities Compliance Manual     Exchange Act’s prohibition on    DOJ-0008290675 DOJ-0008290773
                   (Version 4)                       manipulation and attempted
                                                     manipulation, and conduct that
                                                     may suggest manipulation such
                                                     as uneconomic trading activity




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No.     Date                 Description                         Relevance                 BegDocID        EndDocID       Deft Objections
                                                       Manual applicable to
                                                       JPMorgan’s precious metals
                                                       desk and includes a discussion
                   J.P. Morgan North American          of the CFTC, the Commodity
135   Sept. 2013   Commodities Compliance Manual       Exchange Act’s prohibition on     DOJ-0008290775 DOJ-0008290867
                   (Version 5)                         manipulation and attempted
                                                       manipulation, and conduct that
                                                       may suggest manipulation such
                                                       as uneconomic trading activity
                                                       Policy applicable to members of
                                                       JPMorgan’s precious metals                                      R. 401 relevance;
                   Anti-Fraud, Anti-Manipulation and
136   9/15/2012                                        desk and includes a discussion    DOJ-0008291391 DOJ-0008291396 R. 403 prejudice,
                   Other Prohibited Trade Practices
                                                       of market manipulation and                                      confusion, delay
                                                       spoofing
                                                       Policy applicable to members of
                                                       JPMorgan’s precious metals                                      R. 401 relevance;
                   Anti-Fraud, Anti-Manipulation and
137   11/9/2012                                        desk and includes a discussion    DOJ-0008291418 DOJ-0008291423 R. 403 prejudice,
                   Other Prohibited Trade Practices
                                                       of market manipulation and                                      confusion, delay
                                                       spoofing
                                                       Policy applicable to members of
                                                       JPMorgan’s precious metals                                      R. 401 relevance;
                   Anti-Fraud, Anti-Manipulation and
138    2/8/2013                                        desk and includes a discussion    DOJ-0008291436 DOJ-0008291442 R. 403 prejudice,
                   Other Prohibited Trade Practices
                                                       of market manipulation and                                      confusion, delay
                                                       spoofing
                                                       Policy applicable to members of
                                                       JPMorgan’s precious metals                                      R. 401 relevance;
                   Anti-Fraud, Anti-Manipulation and
139   10/28/2013                                       desk and includes a discussion    DOJ-0008291464 DOJ-0008291470 R. 403 prejudice,
                   Other Prohibited Trade Practices
                                                       of market manipulation and                                      confusion, delay
                                                       spoofing
                                                       Policy applicable to members of
                   Anti-Fraud, Anti-Manipulation and   JPMorgan’s precious metals                                      R. 401 relevance;
140   5/14/2014    Other Prohibited Trade Practices    desk and includes a discussion    DOJ-0008291485 DOJ-0008291490 R. 403 prejudice,
                   Policy                              of market manipulation and                                      confusion, delay
                                                       spoofing


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No.     Date                Description                          Relevance                BegDocID        EndDocID       Deft Objections
                                                      Policy applicable to members of
                                                      JPMorgan’s precious metals                                      R. 401 relevance;
                  Anti-Fraud, Anti-Manipulation and
141   8/28/2015                                       desk and includes a discussion    DOJ-0008291525 DOJ-0008291533 R. 403 prejudice,
                  Other Prohibited Trade Practices
                                                      of market manipulation and                                      confusion, delay
                                                      spoofing
                                                      Policy applicable to members of
                                                      JPMorgan’s precious metals
                                                      desk in EMEA and includes                                       R. 401 relevance;
                                                                                        DOJ-0020209541 DOJ-0020209541
142   6/13/2011   Avoiding Market Manipulation        prohibition on market                                           R. 403 prejudice,
                                                                                        DOJ-0020209542 DOJ-0020209542
                                                      manipulation and provides                                       confusion, delay
                                                      examples including trades that
                                                      have no economic rationale
                                                      Policy applicable to members of
                                                      JPMorgan’s precious metals
                                                      desk in EMEA and includes                                       R. 401 relevance;
143   7/21/2010   Avoiding Market Manipulation        prohibition on market             DOJ-0020209554 DOJ-0020209555 R. 403 prejudice,
                                                      manipulation and provides                                       confusion, delay
                                                      examples including trades that
                                                      have no economic rationale
                                                      Summary of the policies,
                                                      procedures, and controls                                        R. 401 relevance;
                  JPMorgan Chase & Co.
144   10/9/2014                                       constituting JPMorgan’s           DOJ-0008288935 DOJ-0008288954 R. 403 prejudice,
                  Commodities Compliance Program
                                                      compliance program for the                                      confusion, delay
                                                      Global Commodities Group
                                                      Summary of the policies,
                                                      procedures, and controls                                        R. 401 relevance;
                  JPMorgan Chase & Co. Global
145   8/12/2015                                       constituting JPMorgan’s           DOJ-0008288902 DOJ-0008288916 R. 403 prejudice,
                  Commodities Compliance Program
                                                      compliance program for the                                      confusion, delay
                                                      Global Commodities Group




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No.     Date                 Description                              Relevance                  BegDocID        EndDocID       Deft Objections
                                                           Email sent to members of
                  IB Compliance Bulletins email,           JPMorgan’s precious metals
                                                                                                                             R. 401 relevance;
                  “Expansion of CFTC Anti-                 desk, among others, and
146   8/26/2011                                                                                DOJ-0015255171 DOJ-0015255172 R. 403 prejudice,
                  Manipulation and Anti-Fraud              includes a discussion of the
                                                                                                                             confusion, delay
                  Rules”                                   CFTC’s new anti-manipulation
                                                           and anti-fraud rules
                                                           Email sent to members of
                                                           JPMorgan’s precious metals
                 CIB Compliance Bulletin email,            desk, among others, and                                           R. 401 relevance;
147   11/20/2012 “Anti-Fraud, Anti-Manipulation            includes a discussion of            DOJ-0015273707 DOJ-0015273708 R. 403 prejudice,
                 and Other Prohibited Practices “          JPMorgan’s adoption of its anti-                                  confusion, delay
                                                           fraud, anti-manipulation, and
                                                           other prohibited practices policy
                                                           Email sent to members of
                                                           JPMorgan’s precious metals
                  CIB Compliance Bulletin email,           desk, among others, and
148   7/30/2013   “CFTC Guidance on Disruptive             includes a discussion of the        DOJ-0016818727 DOJ-0016818728
                  Trading Practices”                       CFTC’s guidance on disruptive
                                                           trading practices such as
                                                           spoofing
                                                           Email sent to members of
                                                           JPMorgan’s precious metals
                                                           desk, among others, and
                  Compliance Bulletin email,
                                                           includes a discussion of
149   5/21/2014   “Spoofing and Other Manipulative                                             DOJ-0016818890 DOJ-0016818891
                                                           spoofing, recent CFTC and SEC
                  Trading Practices”
                                                           enforcement actions, and
                                                           guidance on avoiding market
                                                           manipulation
                                                           Email sent to members of
                                                           JPMorgan’s precious metals
                  Email to undisclosed recipient list,
                                                           desk in EMEA and includes a
150   7/22/2014   “Spoofing and Other Manipulative                                             DOJ-0014778368 DOJ-0014778369
                                                           discussion of recent enforcement
                  Trading Practices”
                                                           actions for spoofing and market
                                                           manipulation


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No.     Date                Description                          Relevance                  BegDocID        EndDocID       Deft Objections
                                                      Email sent to members of
                                                      JPMorgan’s precious metals
                  CIB Compliance Bulletin email,      desk, among others, and                                           R. 401 relevance;
151   9/15/2014   “Prohibited Disruptive Trading      includes a discussion of CME        DOJ-0016818895 DOJ-0016818896 R. 403 prejudice,
                  Practices”                          Rule 575 prohibiting disruptive                                   confusion, delay
                                                      trading practices such as
                                                      spoofing
                                                      Email sent to members of
                                                      JPMorgan’s precious metals
                  Compliance Bulletin email,                                                                            R. 401 relevance;
                                                      desk, among others, and
152   12/2/2015   “Spoofing, Layering, and Other                                          DOJ-0016819047 DOJ-0016819048 R. 403 prejudice,
                                                      includes a discussion of the
                  Manipulative Trading Practices”                                                                       confusion, delay
                                                      criminal conviction in the Coscia
                                                      case
                                                      Identifying specific compliance
153       -       JPM Compliance Bulletin Tracker     bulletins sent to the defendants    DOJ-0020211858 DOJ-0020211858
                                                      and others
                                                      Training that contains a
                                                      discussion of market
                                                                                                                        R. 401 relevance;
      January-    Compliance Education Global         manipulation, including with
154                                                                                       DOJ-0016453182 DOJ-0016453197 R. 403 prejudice,
         10       Commodities Group North America     respect to orders which give
                                                                                                                        confusion, delay
                                                      false or misleading signals and
                                                      to placing non-economic trades
                                                      Asking for 25 copies to be
                                                      printed of the “Compliance
                                                                                                                          R. 401 relevance;
155   1/25/2010   Email from A. Nakkab to S. Sica     Education Global Commodities        DOJ-0021520877 DOJ-0021520877
                                                                                                                          R. 802 hearsay
                                                      Group North America” slide
                                                      deck




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No.    Date                  Description                             Relevance               BegDocID        EndDocID       Deft Objections
                                                        Training that contains a
                                                        discussion of rules and
                                                        guidelines for electronic
                                                        communications, including an
                                                        example where a JPMorgan
                  Futures & Options and OTC                                                                              R. 401 relevance;
                                                        trader mentions “how easily
156   Fall 2010   Clearing Compliance Training &                                           DOJ-0016453118 DOJ-0016453178 R. 403 prejudice,
                                                        manipulated [markets] could be
                  Education                                                                                              confusion, delay
                                                        if someone really wanted to
                                                        try!!!!!,” and that contains a
                                                        discussion of the prohibition
                                                        against placing non-economic
                                                        trades
                                                        Providing members of
                                                        JPMorgan’s precious metals
                                                        desk a recap of the trading day
                  Email from D. Turnbull to G.          in the platinum and palladium
                  Smith, M. Nowak, C. Jordan, C.        markets, including the                                           Duplicate of GX 40
157   4/8/2009    Trunz, C. Callaway, F. Amato, M.      statement “Just goes to show       DOJ-0015769858 DOJ-0015769859 (same objection: R.
                  Simonian, O. Weldon, R. Gottlieb,     you how little involvement there                                 802 hearsay)
                  S. Piller, and T, Ka                  really is sometimes in these
                                                        metals and how easily
                                                        manipulated they could be if
                                                        someone really wanted to try!”




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No.     Date                Description                          Relevance                BegDocID        EndDocID       Deft Objections
                                                      Training that contains a
                                                      discussion of the prohibition
                                                      against placing non-economic
                                                      trades and the CFTC’s anti-
                                                      manipulation rules and a
                                                                                                                      R. 401 relevance;
                                                      discussion of the rules and
158     2011      Annual Compliance Training 2011                                       DOJ-0008289077 DOJ-0008289162 R. 403 prejudice,
                                                      guidelines for electronic
                                                                                                                      confusion, delay
                                                      communications, including an
                                                      example where a trader says,
                                                      “Just opened my bottom drawer
                                                      where I keep my lead pipe,
                                                      removed it and now holding it.”
                                                      Meeting invite for annual
                  Meeting Invite for “REMINDER
                                                      compliance trading for members                                    R. 403 prejudice,
159   11/9/2011   GCG Mandatory Annual                                                  DOJ-0014779454 DOJ-0014779455
                                                      of JPMorgan’s precious metals                                     confusion, delay
                  Compliance Training”
                                                      desk, among others
                                                      Meeting invite for annual
                 Meeting Invite for “Mandatory
                                                      compliance trading for members                                    R. 403 prejudice,
160   11/13/2012 Annual Compliance Training for                                         DOJ-0009022845 DOJ-0009022845
                                                      of JPMorgan’s precious metals                                     confusion, delay
                 GCG North America”
                                                      desk, among others
                                                      Meeting invite for make-up
                 Meeting Invite for “Mandatory        session of annual compliance
                 Annual Compliance Training for       trading for members of                                            R. 403 prejudice,
161   11/29/2012                                                                        DOJ-0020000713 DOJ-0020000715
                 GCG North America (Make-up           JPMorgan’s precious metals                                        confusion, delay
                 Session) - Materials attached”       desk, among others, and
                                                      attaches a slide deck
                                                      Training regarding Dodd-Frank
                                                      provisions, including the
                                                      prohibition on fraud,                                           R. 401 relevance;
                  J.P. Morgan Go-Live Training
162   Dec. 2012                                       manipulation, and other abusive   DOJ-0016455673 DOJ-0016455709 R. 403 prejudice,
                  Regarding Dodd-Frank
                                                      practices such as spoofing and                                  confusion, delay
                                                      trades without an economic
                                                      rationale



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No.     Date                  Description                             Relevance                 BegDocID        EndDocID       Deft Objections
                                                          Training that contains a
                                                          discussion of JPMorgan’s anti-
      November
                                                          fraud, anti-manipulation, and                                     R. 401 relevance;
          -        Global Commodities Group Annual
163                                                       other prohibited practices          DOJ-0008289205 DOJ-0008289230 R. 403 prejudice,
      December     Compliance Training
                                                          policy, including that creating                                   confusion, delay
        2013
                                                          the artificial appearance of
                                                          active trading is prohibited
                                                          Recording of live compliance
                                                          training during which the
                   Recording of compliance training on    discussion covers, among other
164   11/18/2013                                                                              DOJ-0014782557 DOJ-0014782557
                   11/18/2013                             things, anti-fraud and
                                                          manipulation rules and related
                                                          recent CFTC actions
                                                          Transcript of live compliance
                                                          training during which the
                   Transcript of recording of             discussion covers, among other
165   11/18/2013                                                                              DOJ-0014773591 DOJ-0014773620
                   compliance meeting on 11/18/2013       things, anti-fraud and
                                                          manipulation rules and related
                                                          recent CFTC actions
                                                          Training that contains a
                                                          discussion of manipulation and
                                                                                                                            R. 401 relevance;
                   Core Policies and Principles for CIB   market abuse, including
166   Nov. 2013                                                                               DOJ-0014778432 DOJ-0014778451 R. 403 prejudice,
                   Markets - Trading                      spoofing/layering and creating a
                                                                                                                            confusion, delay
                                                          false or misleading appearance
                                                          in the market
                   Meeting Invite for “Mandatory NY       Invite for mandatory, in-person
                   Bullion, EMM and Index Traders         training focused on
                   Compliance Training” with the          manipulation, front-running,
167   12/5/2013                                                                               DOJ-0015285163 DOJ-0015285163
                   attachment, “Core Policies and         and collusion regarding the slide
                   Principles for CIB Markets -           deck attached to the meeting
                   Trading”                               invite




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No.     Date                Description                            Relevance                BegDocID        EndDocID       Deft Objections
                                                       Training regarding activity in
                                                       EMEA that discusses market
                                                                                                                        R. 401 relevance;
                  Market Abuse and Information         abuse, including spoofing and
168     2014                                                                              DOJ-0016453645 DOJ-0016453707 R. 403 prejudice,
                  Barriers                             the prohibition on trading to
                                                                                                                        confusion, delay
                                                       create a false or misleading
                                                       impression
                                                       Training that contains a
                                                                                                                        R. 401 relevance;
                  Global Commodities Group Annual      discussion of CME Rule 575
169   Nov. 2014                                                                           DOJ-0008289231 DOJ-0008289257 R. 403 prejudice,
                  Compliance Training                  prohibiting disruptive trading
                                                                                                                        confusion, delay
                                                       practices such as spoofing
                                                       Recording of live compliance
                                                       training during which the
                                                       discussion covers, among other
                  Recording of compliance meeting on
170   11/3/2014                                        things, CME Rule 575,              DOJ-0014782556 DOJ-0014782556
                  11/3/2014
                                                       spoofing/layering, and a former
                                                       JPMorgan trader who was
                                                       terminated for spoofing/layering
                                                       Transcript of live compliance
                                                       training during which the
                                                       discussion covers, among other
                  Transcript of recording of
171   11/3/2014                                        things, CME Rule 575,              DOJ-0014773621 DOJ-0014773641
                  compliance meeting on 11/3/2014
                                                       spoofing/layering, and a former
                                                       JPMorgan trader who was
                                                       terminated for spoofing/layering
                                                       Invite for classroom training on
                  Meeting Invite for “Trading          trading conduct using a slide
                  Conduct - Classroom Training”        deck that contains three
172   1/18/2017                                                                           DOJ-0014778277 DOJ-0014778277
                  with the attachments, “Trading       instances of C. Trunz’s trading
                  Conduct Training” and “Examples”     activity as example of spoofing
                                                       and layering
                                                       Identifies compliance trainings
                  Information from JPM’s firm-wide
                                                       completed by, among others, G.
173       -       learning management system,                                             DOJ-0014804992 DOJ-0014804992
                                                       Smith, M. Nowak, J. Ruffo, C.
                  Training Central
                                                       Jordan, C. Trunz & J. Edmonds


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No.     Date                 Description                          Relevance                   BegDocID        EndDocID     Deft Objections
                                                                                                                          R. 802 hearsay;
                   Bloomberg Chat with C. Trunz, J.     Discussion of the ethics training
                                                                                                                          R. 401 relevance;
174   2/17/2010    Edmonds, E. Poirier (Newedge), &     that the JPMorgan traders had       DOJ-0000082005 DOJ-0000082011
                                                                                                                          R. 403 prejudice,
                   J. Stanger (Newedge)                 to attend
                                                                                                                          confusion, delay
                                                                                                                          R. 802 hearsay;
                                                        Discusses the CME’s attempt to
                   Email from M. Camacho to A.                                                                            R. 401 relevance;
175   1/31/2014                                         contact M. Simonian regarding       DOJ-0014782142 DOJ-0014782142
                   Nakkab                                                                                                 R. 403 prejudice,
                                                        his trading strategy
                                                                                                                          confusion, delay
                                                        Update on status of JPMorgan’s
                   Email from B. Austin to M. Nowak                                                                         R. 802 hearsay;
176   3/25/2014                                         disciplinary process for M.         DOJ-0014782112 DOJ-0014782112
                   & M. Camacho                                                                                             R. 401 relevance
                                                        Simonian
                                                        Notes from S. Jhamna interview
                   Notes from meeting with M.
177   10/21/2014                                        of M. Nowak regarding M.            DOJ-0008294121 DOJ-0008294122 R. 802 hearsay
                   Nowak, S. Jhamna & S. Bywater
                                                        Simonian’s trading activity
                                                        Requires, among other things,
                                                        all JPMorgan employees to be in
                   JPMorgan Chase & Co. Code of         compliance with the law, the
178    Feb-08                                                                               DOJ-0014809521 DOJ-0014809554
                   Conduct                              Code of Conduct, and any other
                                                        policies and procedures
                                                        applicable to the employee
                                                        Requires, among other things,
                                                        all JPMorgan employees to be in
                   JPMorgan Chase & Co. Code of         compliance with the law, the
179    May-09                                                                               DOJ-0014809636 DOJ-0014809670
                   Conduct                              Code of Conduct, and any other
                                                        policies and procedures
                                                        applicable to the employee
                                                        Requires, among other things,
                                                        all JPMorgan employees to be in
                   JPMorgan Chase & Co. Code of         compliance with the law, the
180    May-10                                                                               DOJ-0014809599 DOJ-0014809635
                   Conduct                              Code of Conduct, and any other
                                                        policies and procedures
                                                        applicable to the employee




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No.   Date               Description                       Relevance                BegDocID        EndDocID      Deft Objections
                                                Requires, among other things,
                                                all JPMorgan employees to be in
               JPMorgan Chase & Co. Code of     compliance with the law, the
181   Apr-11                                                                      DOJ-0014809710 DOJ-0014809750
               Conduct                          Code of Conduct, and any other
                                                policies and procedures
                                                applicable to the employee
                                                Requires, among other things,
                                                all JPMorgan employees to be in
               JPMorgan Chase & Co. Code of     compliance with the law, the
182   May-21                                                                      DOJ-0014809871 DOJ-0014809922
               Conduct                          Code of Conduct, and any other
                                                policies and procedures
                                                applicable to the employee
                                                Requires, among other things,
                                                all JPMorgan employees to be in
               JPMorgan Chase & Co. Code of     compliance with the law, the
183   Jun-13                                                                      DOJ-0014809923 DOJ-0014809974
               Conduct                          Code of Conduct, and any other
                                                policies and procedures
                                                applicable to the employee
                                                Requires, among other things,
                                                all JPMorgan employees to be in
               JPMorgan Chase & Co. Code of     compliance with the law, the
184   Jun-14                                                                      DOJ-0014810027 DOJ-0014810076
               Conduct                          Code of Conduct, and any other
                                                policies and procedures
                                                applicable to the employee
                                                Requires, among other things,
                                                all JPMorgan employees to be in
               JPMorgan Chase & Co. Code of     compliance with the law, the
185   Jun-15                                                                      DOJ-0014810077 DOJ-0014810126
               Conduct                          Code of Conduct, and any other
                                                policies and procedures
                                                applicable to the employee




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No.     Date                Description                          Relevance                BegDocID       EndDocID       Deft Objections
                                                      Requires, among other things,
                                                      all JPMorgan employees to be in
                  JPMorgan Chase & Co. Code of        compliance with the law, the
186    Jun-16                                                                           DOJ-0014810177 DOJ-0014810226
                  Conduct                             Code of Conduct, and any other
                                                      policies and procedures
                                                      applicable to the employee
                                                      Annual affirmation that, among
                  Gregg Smith JPMorgan Chase &        other things, the employee is
187   2009-2018   Co. Code of Conduct Affirmation     compliance with JPMorgan’s        DOJ-0014776497 DOJ-0014776506
                  Record                              Code of Conduct and other
                                                      applicable policies
                                                      Annual affirmation that, among
                  Michael Nowak JPMorgan Chase &      other things, the employee is
188   2008-2018   Co. Code of Conduct Affirmation     compliance with JPMorgan’s        DOJ-0014776524 DOJ-0014776534
                  Record                              Code of Conduct and other
                                                      applicable policies
                                                      Annual affirmation that, among
                  Christopher Jordan JPMorgan         other things, the employee is
189   2008-2009   Chase & Co. Code of Conduct         compliance with JPMorgan’s        DOJ-0014776473 DOJ-0014776474
                  Affirmation Record                  Code of Conduct and other
                                                      applicable policies
                                                      Annual affirmation that, among
                  Jeffrey Ruffo JPMorgan Chase &      other things, the employee is
190   2009-2016   Co. Code of Conduct Affirmation     compliance with JPMorgan’s        DOJ-0019983013 DOJ-0019983020
                  Record                              Code of Conduct and other
                                                      applicable policies
                                                      Annual affirmation that, among
                  John Edmonds JPMorgan Chase &       other things, the employee is
191   2008-2016   Co. Code of Conduct Affirmation     compliance with JPMorgan’s        DOJ-0014776515 DOJ-0014776523
                  Record                              Code of Conduct and other
                                                      applicable policies




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No.     Date                 Description                           Relevance                BegDocID      EndDocID       Deft Objections
                                                        Annual affirmation that, among
                  Christian Trunz JPMorgan Chase        other things, the employee is
192   2009-2018   & Co. Code of Conduct Affirmation     compliance with JPMorgan’s       DOJ-0014776463 DOJ-0014776472
                  Record                                Code of Conduct and other
                                                        applicable policies
                                                        Annual affirmation that, among
                  Michel Simonian JPMorgan Chase        other things, the employee is
193   2008-2013   & Co. Code of Conduct Affirmation     compliance with JPMorgan’s       DOJ-0014776535 DOJ-0014776540
                  Record                                Code of Conduct and other
                                                        applicable policies
                                                        Annual affirmation that, among
                  Stuart Piller JPMorgan Chase &        other things, the employee is
194   2008-2016   Co. Code of Conduct Affirmation       compliance with JPMorgan’s       DOJ-0014782103 DOJ-0014782111
                  Record                                Code of Conduct and other
                                                        applicable policies
                                                        Annual affirmation that, among
                  Donald Turnbull JPMorgan Chase        other things, the employee is
195   2008-2018   & Co. Code of Conduct Affirmation     compliance with JPMorgan’s       DOJ-0014776475 DOJ-0014776485
                  Record                                Code of Conduct and other
                                                        applicable policies
                                                        Annual affirmation that, among
                  Robert Gottlieb JPMorgan Chase &      other things, the employee is
196   2009-2013   Co. Code of Conduct Affirmation       compliance with JPMorgan’s       DOJ-0014776547 DOJ-0014776551
                  Record                                Code of Conduct and other
                                                        applicable policies
197       -       Intentionally Left Blank
198       -       Intentionally Left Blank
199       -       Intentionally Left Blank
200       -       Intentionally Left Blank




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No.     Date                 Description                          Relevance                BegDocID       EndDocID        Deft Objections
                                                      Gerko reports to Ryan trading                                      R. 802 hearsay;
                                                      activity in the gold futures                                       R. 401 relevance;
                   Email from Alex Gerko (GSA) to     market during a bid was placed                                     R. 403 prejudice,
201   6/12/2012                                                                          DOJ-0017001206 DOJ-0017001206
                   Ryan Cobb (CME)                    to create the impression of                                        confusion, delay;
                                                      orderbook imbalance and                                            R. 701 improper
                                                      achieve execution of an offer                                      lay opinion
                                                                                                                         R. 802 hearsay;
                                                                                                                         R. 401 relevance;
                                                      Gerko sends to Cobb two
                                                                                                                         R. 403 prejudice,
                                                      screenshots of trading activity
                   Email from Alex Gerko (GSA) to                                                                        confusion, delay;
202   11/23/2012                                      in the platinum futures market     DOJ-0017000399 DOJ-0017000400
                   Ryan Cobb (CME)                                                                                       R. 701 improper
                                                      and remarks that the spoofing
                                                                                                                         lay opinion; R. 901
                                                      continues to occur in the market
                                                                                                                         authenticity; R.
                                                                                                                         1001 best evidence
                                                                                                                         R. 802 hearsay;
                                                      Gerko reports to Cobb that a
                                                                                                                         R. 401 relevance;
                                                      substantial amount of spoofing
                   Email from Alex Gerko (GSA) to                                                                        R. 403 prejudice,
203   4/22/2013                                       occurred that morning in the       DOJ-0016828657 DOJ-0016828657
                   Ryan Cobb (CME)                                                                                       confusion, delay;
                                                      markets for gold, silver, and
                                                                                                                         R. 701 improper
                                                      copper
                                                                                                                         lay opinion
                                                                                                                         R. 802 hearsay;
                                                      Gerko sends to Cobb                                                R. 401 relevance;
                                                      screenshots of trading activity                                    R. 403 prejudice,
                   Email from Alex Gerko (GSA) to     in the gold futures market and                                     confusion, delay;
204   4/24/2013                                                                          DOJ-0016828675 DOJ-0016828676
                   Ryan Cobb (CME)                    comments how it is another                                         R. 701 improper
                                                      example of a spoofing pattern in                                   lay opinion; R. 901
                                                      gold                                                               authenticity; R.
                                                                                                                         1001 best evidence




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No.     Date                Description                        Relevance                   BegDocID       EndDocID        Deft Objections
                                                                                                                         R. 802 hearsay;
                                                                                                                         R. 401 relevance;
                                                     Gerko sends to Cobb
                                                                                                                         R. 403 prejudice,
                                                     screenshots of trading activity
                  Email from Alex Gerko (GSA) to                                                                         confusion, delay;
205   5/7/2013                                       in the gold and silver futures      DOJ-0017000484 DOJ-0017000486
                  Ryan Cobb (CME)                                                                                        R. 701 improper
                                                     markets and states that is more
                                                                                                                         lay opinion; R. 901
                                                     the same type of trading activity
                                                                                                                         authenticity; R.
                                                                                                                         1001 best evidence
                                                                                                                         R. 802 hearsay;
                                                     Gerko sends to Cobb                                                 R. 401 relevance;
                                                     screenshots of trading activity                                     R. 403 prejudice,
                  Email from Alex Gerko (GSA) to     in the gold futures market and                                      confusion, delay;
206   5/17/2013                                                                          DOJ-0017000496 DOJ-0017000497
                  Ryan Cobb (CME)                    remarks that the trading                                            R. 701 improper
                                                     activity started in gold and                                        lay opinion; R. 901
                                                     silver at the same time                                             authenticity; R.
                                                                                                                         1001 best evidence
                                                                                                                         R. 802 hearsay;
                                                                                                                         R. 401 relevance;
                                                     Gerko sends to Cobb a
                                                                                                                         R. 403 prejudice,
                                                     screenshot of trading activity in
                  Email from Alex Gerko (GSA) to                                                                         confusion, delay;
207   5/23/2013                                      the gold futures market and         DOJ-0017000499 DOJ-0017000500
                  Ryan Cobb (CME)                                                                                        R. 701 improper
                                                     comments about spoofing in the
                                                                                                                         lay opinion; R. 901
                                                     gold market
                                                                                                                         authenticity; R.
                                                                                                                         1001 best evidence
                                                                                                                         R. 802 hearsay;
                                                                                                                         R. 401 relevance;
                                                     Gerko sends to Cobb                                                 R. 403 prejudice,
                  Email from Alex Gerko (GSA) to     screenshots of trading activity                                     confusion, delay;
208   5/23/2013                                                                          DOJ-0016823444 DOJ-0016823445
                  Ryan Cobb (CME)                    in the silver and copper futures                                    R. 701 improper
                                                     markets                                                             lay opinion; R. 901
                                                                                                                         authenticity; R.
                                                                                                                         1001 best evidence




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No.     Date                Description                          Relevance                BegDocID       EndDocID        Deft Objections
                                                     Gerko sends to Cobb and                                            R. 802 hearsay;
                                                     Hunnable a screenshot of                                           R. 401 relevance;
                                                     trading activity from the                                          R. 403 prejudice,
                  Email from Alex Gerko (GSA) to
                                                     palladium futures market and                                       confusion, delay;
209   5/24/2013   Ryan Cobb (CME) & Harriet                                             DOJ-0017000512 DOJ-0017000512
                                                     comments that manipulation                                         R. 701 improper
                  Hunnable (CME)
                                                     dominates the market and has                                       lay opinion; R. 901
                                                     led to a stop in their palladium                                   authenticity; R.
                                                     trading on CME                                                     1001 best evidence
                                                                                                                        R. 802 hearsay;
                                                     Gerko sends to Cobb
                                                                                                                        R. 401 relevance;
                                                     screenshots of trading in
                                                                                                                        R. 403 prejudice,
                                                     multiple futures markets,
                  Email from Alex Gerko (GSA) to                                                                        confusion, delay;
210   5/29/2013                                      including gold and platinum,       DOJ-0016823451 DOJ-0016823465
                  Ryan Cobb (CME)                                                                                       R. 701 improper
                                                     from the prior 1-2 days and
                                                                                                                        lay opinion; R. 901
                                                     remarks that they show a high
                                                                                                                        authenticity; R.
                                                     level of spoofing activity
                                                                                                                        1001 best evidence
                                                                                                                        R. 802 hearsay;
                                                                                                                        R. 401 relevance;
                                                                                                                        R. 403 prejudice,
                                                     Gerko sends to Cobb two
                  Email from Alex Gerko (GSA) to                                                                        confusion, delay;
211   6/4/2013                                       screenshots of trading activity    DOJ-0016828632 DOJ-0016828633
                  Ryan Cobb (CME)                                                                                       R. 701 improper
                                                     in the gold futures market
                                                                                                                        lay opinion; R. 901
                                                                                                                        authenticity; R.
                                                                                                                        1001 best evidence
                                                                                                                        R. 802 hearsay;
                                                     Gerko sends to Cobb                                                R. 401 relevance;
                                                     screenshots of trading activity                                    R. 403 prejudice,
                  Email from Alex Gerko (GSA) to     in the gold and silver futures                                     confusion, delay;
212   6/6/2013                                                                          DOJ-0017000557 DOJ-0017000558
                  Ryan Cobb (CME)                    markets and comments that                                          R. 701 improper
                                                     spoofing activity continues in                                     lay opinion; R. 901
                                                     gold and silver                                                    authenticity; R.
                                                                                                                        1001 best evidence




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                                                   United States’ Amended Exhibit List

No.     Date                Description                         Relevance                   BegDocID       EndDocID        Deft Objections
                                                                                                                          R. 802 hearsay;
                                                                                                                          R. 401 relevance;
                                                     Gerko sends to Cobb
                                                                                                                          R. 403 prejudice,
                                                     screenshots of trading activity
                  Email from Alex Gerko (GSA) to                                                                          confusion, delay;
213   7/26/2013                                      in the gold futures market and       DOJ-0017000591 DOJ-0017000592
                  Ryan Cobb (CME)                                                                                         R. 701 improper
                                                     remarks that spoofing continues
                                                                                                                          lay opinion; R. 901
                                                     to occur in gold
                                                                                                                          authenticity; R.
                                                                                                                          1001 best evidence
                                                                                                                          R. 802 hearsay;
                                                     Gerko sends to Smith a                                               R. 401 relevance;
                                                     screenshot of trading activity in                                    R. 403 prejudice,
                  Email from Alex Gerko (GSA) to     the silver futures market and                                        confusion, delay;
214   9/16/2013                                                                           DOJ-0017000618 DOJ-0017000618
                  Aaron Smith (CME)                  notes it is an example of                                            R. 701 improper
                                                     spoofing that had a negative                                         lay opinion; R. 901
                                                     effect on Gerko’s P&L                                                authenticity; R.
                                                                                                                          1001 best evidence
                                                                                                                          R. 802 hearsay;
                                                     Gerko sends to Smith
                                                                                                                          R. 401 relevance;
                                                     screenshots of trading activity
                                                                                                                          R. 403 prejudice,
                                                     in gold, silver, and copper
                  Email from Alex Gerko (GSA) to                                                                          confusion, delay;
215   9/26/2013                                      futures markets and remarks          DOJ-0017000646 DOJ-0017000648
                  Aaron Smith (CME)                                                                                       R. 701 improper
                                                     that spoofing is particularly
                                                                                                                          lay opinion; R. 901
                                                     egregious in the gold, silver, and
                                                                                                                          authenticity; R.
                                                     copper markets
                                                                                                                          1001 best evidence
                                                                                                                          R. 802 hearsay;
                                                                                                                          R. 401 relevance;
                                                                                                                          R. 403 prejudice,
                  Email from Alex Gerko (GSA) to     Gerko comments to Smith and
                                                                                                                          confusion, delay;
216   11/6/2014   Aaron Smith (CME) & Harriet        Hunnable about significant           DOJ-0017000994 DOJ-0017000996
                                                                                                                          R. 701 improper
                  Hunnable (CME)                     amounts of spoofing in silver
                                                                                                                          lay opinion; R. 901
                                                                                                                          authenticity; R.
                                                                                                                          1001 best evidence




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                                                       United States’ Amended Exhibit List

No.     Date                Description                            Relevance                  BegDocID        EndDocID     Deft Objections
                                                                                                                          R. 802 hearsay;
                                                                                                                          R. 401 relevance;
                                                                                                                          R. 403 prejudice,
                                                         CME internal memorandum re:
                                                                                                                          confusion, delay;
                  CME Memo re: Resolution of             June 12, 2012 complaint filed by
217   7/9/2012                                                                              DOJ-0016828330 DOJ-0016828332 R. 404(b) evidence
                  Complaint (Comp-12-0819)               A. Gerko that corresponded to
                                                                                                                          of prior
                                                         G. Smith trading activity
                                                                                                                          misconduct; R. 701
                                                                                                                          improper lay
                                                                                                                          opinion
                                                                                                                          R. 802 hearsay;
                                                                                                                          R. 401 relevance;
                                                         CME internal memorandum re:                                      R. 403 prejudice,
                                                         April and May 2013 complaints                                    confusion, delay;
                  CME Memo re: Closing of
218   6/25/2013                                          filed by A. Gerko that             DOJ-0016823384 DOJ-0016823385 R. 404(b) evidence
                  Complaint (Comp-13-1264)
                                                         corresponded to G. Smith                                         of prior
                                                         trading activity                                                 misconduct; R. 701
                                                                                                                          improper lay
                                                                                                                          opinion
                                                                                                                          R. 802 hearsay;
                                                                                                                          R. 401 relevance;
                                                                                                                          R. 403 prejudice,
                                                         CME internal memorandum re:
                                                                                                                          confusion, delay;
                  CME Memo re: Complaint (Comp-          May 2013 complaint filed by A.
219   6/25/2013                                                                             DOJ-0016823414 DOJ-0016823416 R. 404(b) evidence
                  13-1304)                               Gerko that corresponded to G.
                                                                                                                          of prior
                                                         Smith trading activity
                                                                                                                          misconduct; R. 701
                                                                                                                          improper lay
                                                                                                                          opinion
                                                         Letter from E. Furlong to G.
                                                         Smith requesting interview in
                  Letter from E. Furlong (CME) to G.
220   9/11/2013                                          connection with CME Market         DOJ-0014780824 DOJ-0014780824
                  Smith (JPM) c/o R. Howe (JPM)
                                                         Regulation Dept. inquiry (Case-
                                                         12-8979)




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No.     Date                  Description                          Relevance                 BegDocID        EndDocID     Deft Objections
                                                                                                                         R. 802 hearsay;
                   Recording of October 17, 2013 CME     Smith’s statements regarding                                    R. 401 relevance;
221   10/17/2013                                                                           DOJ-0016828341 DOJ-0016828341
                   interview of G. Smith (audio file)    precious metals trading at JPM                                  R. 403 prejudice,
                                                                                                                         confusion, delay
                                                                                                                         R. 802 hearsay;
                   Transcript of October 17, 2013        Smith’s statements regarding                                    R. 401 relevance;
222   10/17/2013                                                                           DOJ-0014782274 DOJ-0014782319
                   CME interview of Gregg Smith          precious metals trading at JPM                                  R. 403 prejudice,
                                                                                                                         confusion, delay
                                                         G. Smith trading data for
                   October 17, 2013 CME Interview of     6/26/2013 discussed during
223   10/17/2013                                                                           DOJ-0016828345 DOJ-0016828350
                   Gregg Smith - Exhibit 1               October 17, 2013 CME
                                                         Interview
                                                         G. Smith trading data for
                   October 17, 2013 CME Interview of
224   10/17/2013                                         7/29/2013 discussed during        DOJ-0016828351 DOJ-0016828360
                   Gregg Smith - Exhibit 2
                                                         October 17, 2013 CME interview
                   Email (incl. attachment) from A.      Sending questions from CME
                                                                                           DOJ-0014808923 DOJ-0014808923
225   1/22/2014    Nakkab to M. Nowak, copying E.        directed to Nowak regarding his
                                                                                           DOJ-0014808924 DOJ-0014808924
                   Ferrara and R. Wolf                   supervision of Gregg Smith
                                                         Draft responses from M. Nowak
                   Email (inc. attachment) from M.       to questions from CME             DOJ-0014808925 DOJ-0014808925
226   1/24/2014
                   Nowak to E. Ferrara                   regarding supervision of G.       DOJ-0014808926 DOJ-0014808927
                                                         Smith
                   Email (incl. attachments) from E.     Written responses submitted to
                   Ferrara (JPM) to E. Furlong (CME,     CME for questions directed to     DOJ-0014780513 DOJ-0014780513
227   1/30/2014
                   copying R. Wolf (JPM) and A.          M. Nowak regarding his            DOJ-0014780514 DOJ-0014780515
                   Nakkab (JPM)                          supervision of G. Smith




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No.     Date                 Description                             Relevance                   BegDocID        EndDocID     Deft Objections
                                                                                                                             R. 401 relevance;
                                                                                                                             R. 403 prejudice,
                                                          CME Market Regulation Dept.                                        confusion, delay;
                  CME Group Market Regulation             findings from its investigation of                                 R. 404(b) evidence
228   6/1/2015    Department Investigation Report         G. Smith’s trading activity that     DOJ-0016828370 DOJ-0016828378 of prior
                  (Case No. COMEX-12-8979)                formed basis of the referral to                                    misconduct; R. 802
                                                          CME’s enforcement division                                         hearsay; R. 701
                                                                                                                             improper lay
                                                                                                                             opinion
                                                                                                                             R. 401 relevance;
                                                                                                                             R. 403 prejudice,
                                                          Written notice of the referral of
                                                                                                                             confusion, delay;
                  Letter from J. Burke (CME) to S.        the CME’s investigation of G.
229   6/30/2015                                                                                DOJ-0014778244 DOJ-0014778245 R. 404(b) evidence
                  Marhamati (JPM)                         Smith’s trading activity to
                                                                                                                             of prior
                                                          CME’s enforcement division
                                                                                                                             misconduct; R. 802
                                                                                                                             hearsay
                                                          Call between M. Camacho and
                                                          M. Nowak regarding CME                                             R. 106
                  Recorded call between M. Camacho        investigation of G. Smith’s                                        completeness; R.
230   6/30/2015                                                                                DOJ-0021315025 DOJ-0021315025
                  and M. Nowak (audio file)               trading, including discussion of                                   403 prejudice,
                                                          G. Smith’s and M. Simonian’s                                       confusion, delay
                                                          trading styles
                                                          Call between M. Camacho and
                                                          M. Nowak regarding CME                                             R. 106
                  Transcript of recorded call between     investigation of G. Smith’s                                        completeness; R.
231   6/30/2015                                                                                DOJ-0021260558 DOJ-0021260563
                  M. Camacho and M. Nowak                 trading, including discussion of                                   403 prejudice,
                                                          G. Smith’s and M. Simonian’s                                       confusion, delay
                                                          trading styles




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                                                      United States’ Amended Exhibit List

No.     Date                 Description                           Relevance                BegDocID         EndDocID       Deft Objections
                                                        Provides the CME’s scenario for
                                                        a trading pattern that is
                                                        spoofing or layering, outlines
                  Email (incl. attachments) from E.
                                                        the various types of analysis to                                    R. 802 hearsay;
232   8/13/2015   Ferrara to E. Wen, R. Mandell, M.                                       DOJ-0015454966   DOJ-0015454969
                                                        conduct on such trading activity,                                   R. 401 relevance
                  Camacho, and M. Nowak
                                                        and attaches trade data of G.
                                                        Smith’s trading and exhibits
                                                        from G. Smith’s CME interview
                                                                                          DOJ-0021397247   DOJ-0021397249
                                                        Victim-witness Interactive                                        R. 401 relevance;
                  Formanik, John IAB Monthly                                              DOJ-0021352963   DOJ-0021352974
233    Various                                          Brokers account monthly                                           R. 403 prejudice,
                  Statements                                                              DOJ-0021397273   DOJ-0021397275
                                                        statements                                                        confusion, delay
                                                                                          DOJ-0021353248   DOJ-0021353262
                                                        Victim-witness Interactive                                        R. 401 relevance;
      1/6/2021 & Formanik, John IAB Registration                                          DOJ-0021411930   DOJ-0021411933
234                                                     Brokers account registration                                      R. 403 prejudice,
       1/7/2021  Status                                                                   DOJ-0021412706   DOJ-0021412708
                                                        information                                                       confusion, delay
                                                        Victim-witness Interactive                                        R. 401 relevance;
      1/6/2021 & Formanik, John IAB Account Info                                          DOJ-0021411913   DOJ-0021411917
235                                                     Brokers account information                                       R. 403 prejudice,
       1/7/2021  Summary                                                                  DOJ-0021412689   DOJ-0021412692
                                                        summary                                                           confusion, delay
                                                        Victim-witness Interactive        DOJ-0021343060   DOJ-0021343066 R. 401 relevance;
                  Rybalov, Greg IAB Monthly
236    Various                                          Brokers account monthly           DOJ-0021343088   DOJ-0021343097 R. 403 prejudice,
                  Statements
                                                        statements                        DOJ-0021578304   DOJ-0021578370 confusion, delay
                                                        Victim-witness Interactive                                        R. 401 relevance;
                  Rybalov, Greg IAB Registration
237   4/30/2021                                         Brokers account registration      DOJ-0021414377   DOJ-0021414380 R. 403 prejudice,
                  Status
                                                        information                                                       confusion, delay
                                                        Victim-witness Interactive                                        R. 401 relevance;
                  Rybalov, Greg IAB Account Info
238   4/30/2021                                         Brokers account information       DOJ-0021414366   DOJ-0021414370 R. 403 prejudice,
                  Summary
                                                        summary                                                           confusion, delay
                                                        Victim-witness Interactive        DOJ-0021343426   DOJ-0021343429 R. 401 relevance;
                  Klein, Karl IAB Monthly
239    Various                                          Brokers account monthly           DOJ-0021578288   DOJ-0021578303 R. 403 prejudice,
                  Statements
                                                        statements                        DOJ-0021578273   DOJ-0021578287 confusion, delay
                                                        Victim-witness Interactive                                        R. 401 relevance;
240    1/6/2021   Klein, Karl IAB Registration Status   Brokers account registration      DOJ-0021411426   DOJ-0021411429 R. 403 prejudice,
                                                        information                                                       confusion, delay



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No.     Date                 Description                          Relevance                  BegDocID        EndDocID     Deft Objections
                                                      Victim-witness Interactive                                         R. 401 relevance;
                   Klein, Karl IAB Account Info
241    1/6/2021                                       Brokers account information          DOJ-0021411390 DOJ-0021411395 R. 403 prejudice,
                   Summary
                                                      summary                                                            confusion, delay
                                                      Email providing recap of trading
                                                      activity for the JPMorgan
                   Email from M. Nowak to JPMorgan
242   5/13/2008                                       precious metals desk, including      DOJ-0017392597 DOJ-0017392597
                   Precious Metals Desk
                                                      information about an upcoming
                                                      barrier option expiration
                                                      Extract from JPMorgan order
                                                      management database
                                                      reflecting precious metals order
                   Extract from JPMorgan order
243   5/27/2008                                       information for May 26-28,           DOJ-0021414156 DOJ-0021414156 R. 802 hearsay
                   management database
                                                      2008. Column R (Text) includes
                                                      information about protecting
                                                      barriers
                                                      Confirmation for August 19,
                                                      2008 bullion option transaction
                                                      (one touch binary option)
                   JPMorgan Bullion Option            between JPMorgan and Banca
244   8/19/2008                                                                            DOJ-0021202675 DOJ-0021202678
                   Transaction Confirmation           Intermobiliare Di Investimenti e
                                                      Gestioni SPA (“BIMBank”), with
                                                      expiration date of November 19,
                                                      2008
                                                      Discussion of trading activity for
                                                      JPMorgan precious metals desk,
                   Bloomberg Chat with F. Amato &
245   10/22/2008                                      including active trading related     DOJ-0012442122 DOJ-0012442122 R. 802 hearsay
                   R. Eyles
                                                      to an upcoming barrier option
                                                      expiration
                                                      Discussion of trading activity for
                                                      JPMorgan precious metals desk,
                   Bloomberg Chat with J. Edmonds
246   10/22/2008                                      including active trading related     DOJ-0008988638 DOJ-0008988639 R. 802 hearsay
                   & J. Walpole
                                                      to an upcoming barrier option
                                                      transaction expiration



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No.     Date                  Description                             Relevance                 BegDocID        EndDocID      Deft Objections
                                                          Discussion of trading activity in
                                                          precious metals markets,
                   Bloomberg Chat with G. Smith &         including G. Smith trading
247   10/22/2008                                                                              DOJ-0003436096 DOJ-0003436097
                   R. Eyles                               activity related to an upcoming
                                                          barrier option transaction
                                                          expiration
                                                          S. Piller email providing recap
                                                          of trading activity for the
                                                          JPMorgan precious metals desk,
                                                          including information about an
                   Email exchange between M.              upcoming barrier option
248   10/22/2008                                                                              DOJ-0014781748 DOJ-0014781749
                   Nowak, J. Edmonds, and S. Piller       transaction expiration; J.
                                                          Edmonds and M. Nowak
                                                          exchange follow up emails re:
                                                          trading activity related to
                                                          barrier option expiration
                                                          Discussion of barrier option
                   Bloomberg Chat with S. Piller & C.
249   11/14/2008                                          transaction with BIMBank that       DOJ-0017889297 DOJ-0017889311 R. 802 hearsay
                   Cattaneo
                                                          was set to expire
                                                          Discussion of barrier option
                   Bloomberg Chat with S. Piller &        transaction with BIMBank that
250   11/14/2008                                                                              DOJ-0021207577 DOJ-0021207591 R. 802 hearsay
                   Cattaneo                               expired, including client
                                                          reaction
                                                          Email providing recap of trading
                                                          activity for the JPMorgan
                   Email from M. Nowak to JPMorgan
251   11/17/2008                                          precious metals desk, including     DOJ-0017393322 DOJ-0017393322
                   Precious Metals Desk
                                                          updates about upcoming barrier
                                                          option transaction expiration
                                                          Email providing recap of trading
                                                          activity for the JPMorgan
                   Email from M. Nowak to JPMorgan
252   11/18/2008                                          precious metals desk, including     DOJ-0014893972 DOJ-0014893972
                   Precious Metals Desk
                                                          updates about upcoming barrier
                                                          option transaction expiration



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No.     Date                  Description                            Relevance                 BegDocID        EndDocID      Deft Objections
                                                         Discussion of trading activity in
                                                         the precious metals markets,
                   Bloomberg Chat with D. Turnbull                                                                           R. 802 hearsay;
253   11/19/2008                                         including specific trading          DOJ-0009609728 DOJ-0009609777
                   and J. Smith (Engelhard Metals)                                                                           R. 401 relevance
                                                         recommendation from Turnbull
                                                         to Smith
                                                         S. Piller provides M. Nowak
                                                         information from C. Cattaneo
                   Bloomberg Chat with S. Piller & M.
254   11/19/2008                                         about client reaction to            DOJ-0009267927 DOJ-0009267927
                   Nowak
                                                         BIMBank barrier option
                                                         transaction expiration
                                                         Nowak provides update to
                   Bloomberg Chat with M. Nowak, F.
255   11/19/2008                                         Amato re: BIMBank barrier           DOJ-0016138700 DOJ-0016138701
                   Amato & S. Piller
                                                         option expiration
256                Intentionally Left Blank
                                                         Discussion of trading activity in
                   Bloomberg Chat with J. Edmonds        the precious metals markets,                                        R. 802 hearsay;
257   1/30/2009                                                                              DOJ-0003650445 DOJ-0003650449
                   & J. Walpole                          and Edmonds response to                                             R. 401 relevance
                                                         questions about barrier options
                                                         Confirmation for February 12,
                                                         2013 bullion option transaction
                                                         (at expiry knock-out option)
                   JPMorgan Bullion Option
258   2/12/2013                                          between JPMorgan London             DOJ-0021207089 DOJ-0021207093
                   Transaction Confirmation
                                                         Branch and JP Morgan (Suisse)
                                                         SA, with expiration date of
                                                         February 13, 2013
                                                         Email providing recap of trading
                                                         activity for the JPMorgan
                   Email from M. Nowak to JPMorgan
259    3/8/2013                                          precious metals desk, including     DOJ-0014781303 DOJ-0014781305
                   Precious Metals Desk
                                                         updates about upcoming barrier
                                                         option transaction expiration
                   Bloomberg Chat with J. Ruffo & J.     Ruffo provides updates on
260   3/11/2013                                                                              DOJ-0014523780 DOJ-0014523780 R. 401 relevance
                   Phelan (Tudor)                        precious metals markets activity




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No.     Date                  Description                            Relevance                 BegDocID        EndDocID       Deft Objections
                                                         Padden provides information on
                   Electronic Chat with J. Edmonds &
261   3/11/2013                                          knock-out price for barrier         DOJ-0008329360 DOJ-0008329360 R. 802 hearsay
                   G. Padden
                                                         option with upcoming expiration
                                                         Hu requests confirmation of
                   Bloomberg Chat with 25 internal       LBMA fix price for the day.
262   3/11/2013                                                                              DOJ-0003938692 DOJ-0003938705
                   JPM participants                      Piller & Edmonds both confirm
                                                         the price fixed at 1579 flat
                   FDIC Certificate for JPMorgan         Certificate of JPMorgan Chase
263   11/13/2004                                                                             DOJ-0016828880 DOJ-0016828880
                   Chase Bank, National Association      Bank, N.A.’s FDIC insurance
                                                         Information regarding
                   FDIC Records for JPMorgan Chase
264    7/3/2019                                          JPMorgan Chase Bank, N.A.’s         DOJ-0016828878 DOJ-0016828879
                   Bank, National Association
                                                         status as a FDIC-insured entity
265       -        Intentionally Left Blank
266       -        Intentionally Left Blank
                                                                                                                           R. 802 hearsay;
                   Deferred Prosecution Agreement in     Resolution based, in part, on the
                                                                                                                           R. 403 prejudice,
267   9/29/2020    United States v. JPMorgan Chase       defendants’ precious metals         DOJ-0021315047 DOJ-0021315133
                                                                                                                           confusion, delay;
                   & Co., 20-cr-175 (D. Conn.)           trading activity
                                                                                                                           R. 401 relevance
                                                         Contains information regarding
                                                         job titles, reporting lines, and
                   Extract from JPMorgan’s
268   12/13/2018                                         locations for JPMorgan’s global     DOJ-0008288891 DOJ-0008288891
                   Workforce Analytics Portal
                                                         precious metals trading
                                                         personnel
                                                         Contains HR information such                                      R. 403 prejudice,
                   Gregg Smith JPMorgan Human
269   11/7/2018                                          as employment history and           DOJ-0008393457   DOJ-008293465confusion, delay
                   Resources Profile
                                                         compensation information                                          (compensation)
                                                         Contains HR information such                                      R. 403 prejudice,
                   Michael Nowak JPMorgan Human
270   11/7/2018                                          as employment history and           DOJ-0008293599 DOJ-0008293610 confusion, delay
                   Resources Profile
                                                         compensation information                                          (compensation)
                                                         Contains HR information such                                      R. 403 prejudice,
                   Jeffrey Ruffo JPMorgan Human
271   11/7/2018                                          as employment history and           DOJ-0008293789 DOJ-0008293797 confusion, delay
                   Resources Profile
                                                         compensation information                                          (compensation)




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No.     Date                Description                         Relevance                 BegDocID     EndDocID     Deft Objections
                                                      Contains HR information such                                 R. 403 prejudice,
                  Christopher Jordan JPMorgan
272   11/7/2018                                       as employment history and      DOJ-0008293545 DOJ-0008293552 confusion, delay
                  Human Resources Profile
                                                      compensation information                                     (compensation)
                                                      Contains HR information such                                 R. 403 prejudice,
                  John Edmonds JPMorgan Human
273   11/7/2018                                       as employment history and      DOJ-0008293706 DOJ-0008293715 confusion, delay
                  Resources Profile
                                                      compensation information                                     (compensation)
                                                      Contains HR information such                                 R. 403 prejudice,
                  Christian Trunz JPMorgan Human
274   11/7/2018                                       as employment history and      DOJ-0008293590 DOJ-0008293598 confusion, delay
                  Resources Profile
                                                      compensation information                                     (compensation)
                                                                                     DOJ-0008293442 DOJ-0008293444
                                                                                     DOJ-0008293445 DOJ-0008293446
        2010-                                         Annual performance reviews
                                                                                     DOJ-0008293447 DOJ-0008293448
275     2011,     Gregg Smith performance reviews     while working on JPMorgan’s
                                                                                     DOJ-0008293449 DOJ-0008293450
      2013-2016                                       precious metals desk
                                                                                     DOJ-0008293451 DOJ-0008293452
                                                                                     DOJ-0008293453 DOJ-0008293454
                                                                                     DOJ-0008293611 DOJ-0008293611
                                                                                     DOJ-0008293614 DOJ-0008293615
                                                                                     DOJ-0008293616 DOJ-0008293619
                                                      Annual performance reviews
                  Michael Nowak performance                                          DOJ-0008293620 DOJ-0008293623
276   2010-2016                                       while working on JPMorgan’s
                  reviews                                                            DOJ-0008293624 DOJ-0008293626
                                                      precious metals desk
                                                                                     DOJ-0008293627 DOJ-0008293630
                                                                                     DOJ-0008293631 DOJ-0008293634
                                                                                     DOJ-0008293635 DOJ-0008293638




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No.     Date                 Description                          Relevance                 BegDocID         EndDocID       Deft Objections
                                                                                          DOJ-0008293798   DOJ-0008293799
                                                                                          DOJ-0008293800   DOJ-0008293801
                                                                                          DOJ-0008293802   DOJ-0008293803
                                                                                          DOJ-0008293804   DOJ-0008293805
                                                                                          DOJ-0008293806   DOJ-0008293807
                                                                                          DOJ-0008293808   DOJ-0008293810
                                                        Annual performance reviews
                                                                                          DOJ-0008293811   DOJ-0008293813
277   2008-2016   Jeffrey Ruffo performance reviews     while working on JPMorgan’s
                                                                                          DOJ-0008293814   DOJ-0008293815
                                                        precious metals desk
                                                                                          DOJ-0008293816   DOJ-0008293817
                                                                                          DOJ-0008293818   DOJ-0008293819
                                                                                          DOJ-0008293820   DOJ-0008293820
                                                                                          DOJ-0008293821   DOJ-0008293822
                                                                                          DOJ-0008293823   DOJ-0008293824
                                                                                          DOJ-0008293825   DOJ-0008293826
                                                        Annual performance reviews
                  Christopher Jordan performance
278     2008                                            while working on JPMorgan’s       DOJ-0008293553 DOJ-0008293554
                  review (2008)
                                                        precious metals desk
                                                                                          DOJ-0008293716   DOJ-0008293717
                                                                                          DOJ-0008293718   DOJ-0008293719
                                                        Annual performance reviews        DOJ-0008293720   DOJ-0008293722
                  John Edmonds performance
279   2008-2016                                         while working on JPMorgan’s       DOJ-0008293723   DOJ-0008293724
                  reviews (2008-2016)
                                                        precious metals desk              DOJ-0008293725   DOJ-0008293727
                                                                                          DOJ-0008293728   DOJ-0008293729
                                                                                          DOJ-0008293730   DOJ-0008293732
                                                                                          DOJ-0008293570   DOJ-0008293572
                                                                                          DOJ-0008293573   DOJ-0008293574
        2010-                                           Annual performance reviews
                  Christian Trunz performance                                             DOJ-0008293575   DOJ-0008293577
280     2011,                                           while working on JPMorgan’s
                  reviews                                                                 DOJ-0008293578   DOJ-0008293580
      2013-2016                                         precious metals desk
                                                                                          DOJ-0008293581   DOJ-0008293583
                                                                                          DOJ-0008293584   DOJ-0008293585
                  Email (incl. attachment) from M.      Email and Excel file containing
                                                                                          DOJ-0014804970 DOJ-0014804970
281   12/2/2008   Nowak to R. Eyles re: 2008 precious   P&L information for JPMorgan
                                                                                          DOJ-0014804971 DOJ-0014804971
                  metals trader revenue                 precious metals traders



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No.     Date                 Description                          Relevance                 BegDocID         EndDocID       Deft Objections
                                                       Email from Nowak to Devar
                                                       attaching updated excel file
                 Email (incl. attachment) from M.
                                                       containing P&L information for     DOJ-0014804966 DOJ-0014804966
282   12/29/2009 Nowak to P. Devar re: 2009
                                                       JPMorgan precious metals           DOJ-0014804967 DOJ-0014804967
                 precious metals trader revenue
                                                       traders and providing updates
                                                       on changes to the file
                                                       Email sent by Nowak to himself     DOJ-0014804979   DOJ-0014804979
                 Email (incl. attachments) from M.     attaching excel files containing   DOJ-0014804980   DOJ-0014804980
283   11/13/2014 Nowak re: 2010-2013 precious          P&L information for JPMorgan       DOJ-0014804981   DOJ-0014804981
                 metals trader revenue                 precious metals traders for        DOJ-0014804982   DOJ-0014804982
                                                       2010, 2011, 2012, and 2013         DOJ-0014804983   DOJ-0014804983
                                                       Email sent by Nowak to Cattle
                  Email (incl. attachment) from M.
                                                       attaching excel file containing    DOJ-0014809152 DOJ-0014809152
284    1/6/2015   Nowak to C. Cattle re: 2014
                                                       P&L information for JPMorgan       DOJ-0014809153 DOJ-0014809153
                  precious metals trader revenue
                                                       precious metals traders for 2014
                                                       Email sent by Nowak to Cattle
                  Email (incl. attachment) from M.
                                                       attaching excel file containing    DOJ-0014804972 DOJ-0014804972
285    1/5/2016   Nowak to C. Cattle re: 2015
                                                       P&L information for JPMorgan       DOJ-0014804973 DOJ-0014804973
                  precious metals trader revenue
                                                       precious metals traders for 2015
                                                       Email sent by Nowak to Katz
                  Email (incl. attachment) from M.
                                                       and Amlin attaching excel file
                  Nowak to J. Katz, copying M.                                            DOJ-0014804961 DOJ-0014804962
286    1/3/2017                                        containing P&L information for
                  Amlin re: 2016 precious metals                                          DOJ-0014804963 DOJ-0014804963
                                                       JPMorgan precious metals
                  trader revenue
                                                       traders for 2016
                                                       Email sent to JPMorgan
                 Email (incl. attachments) from K.                                        DOJ-0014800883   DOJ-0014800884
                                                       precious metals desk personnel
                 Arslan to JPMorgan precious                                              DOJ-0014800885   DOJ-0014800885
287   12/31/2008                                       attaching excel files containing
                 metals desk personnel re:                                                DOJ-0014800886   DOJ-0014800886
                                                       the consolidated desk P&L for
                 consolidated 2008 P&L                                                    DOJ-0014800887   DOJ-0014800887
                                                       2008
                                                       Email sent to JPMorgan
                 Email (incl. attachments) from Y.                                        DOJ-0014790171   DOJ-0014790172
                                                       precious metals desk personnel
                 Zhao to JPMorgan precious metals                                         DOJ-0014790173   DOJ-0014790173
288   12/31/2009                                       attaching excel files containing
                 desk personnel re: consolidated                                          DOJ-0014790174   DOJ-0014790174
                                                       the consolidated desk P&L for
                 2009 P&L                                                                 DOJ-0014790175   DOJ-0014790175
                                                       2009


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No.     Date                 Description                          Relevance                 BegDocID         EndDocID       Deft Objections
                                                       Email sent to JPMorgan
                 Email (incl. attachments) from K.                                        DOJ-0014802469   DOJ-0014802470
                                                       precious metals desk personnel
                 Arslan to JPMorgan precious                                              DOJ-0014802471   DOJ-0014802471
289   12/31/2010                                       attaching excel files containing
                 metals desk personnel re:                                                DOJ-0014802472   DOJ-0014802472
                                                       the consolidated desk P&L for
                 consolidated 2010 P&L                                                    DOJ-0014802473   DOJ-0014802473
                                                       2010
                                                       Email sent to JPMorgan
                 Email (incl. attachments) from C.                                        DOJ-0014800525   DOJ-0014800526
                                                       precious metals desk personnel
                 Tang to JPMorgan precious metals                                         DOJ-0014800527   DOJ-0014800528
290   12/30/2011                                       attaching excel files containing
                 desk personnel re: consolidated                                          DOJ-0014800528   DOJ-0014800528
                                                       the consolidated desk P&L for
                 2011 P&L                                                                 DOJ-0014800529   DOJ-0014800529
                                                       2011
                                                       Email sent to JPMorgan
                 Email (incl. attachments) from C.                                        DOJ-0014799243   DOJ-0014799244
                                                       precious metals desk personnel
                 Tang to JPMorgan precious metals                                         DOJ-0014799245   DOJ-0014799245
291   12/31/2012                                       attaching excel files containing
                 desk personnel re: consolidated                                          DOJ-0014799246   DOJ-0014799246
                                                       the consolidated desk P&L for
                 2012 P&L                                                                 DOJ-0014799247   DOJ-0014799247
                                                       2012
                                                                                          DOJ-0014790935   DOJ-0014790936
                                                       Email sent to JPMorgan
                 Email (incl. attachments) from C.                                        DOJ-0014790937   DOJ-0014790937
                                                       precious metals desk personnel
                 Tang to JPMorgan precious metals                                         DOJ-0014790938   DOJ-0014790938
292   12/31/2013                                       attaching excel files containing
                 desk personnel re: consolidated                                          DOJ-0014790939   DOJ-0014790939
                                                       the consolidated desk P&L for
                 2013 P&L                                                                 DOJ-0014790940   DOJ-0014790940
                                                       2013
                                                                                          DOJ-0014790941   DOJ-0014790941
                                                                                          DOJ-0014795884   DOJ-0014795885
                                                       Email sent to JPMorgan             DOJ-0014795886   DOJ-0014795886
                 Email (incl. attachments) from M.
                                                       precious metals desk personnel     DOJ-0014795887   DOJ-0014795887
                 Smith to JPMorgan precious metals
293   12/31/2014                                       attaching excel files containing   DOJ-0014795888   DOJ-0014795888
                 desk personnel re: consolidated
                                                       the consolidated desk P&L for      DOJ-0014795889   DOJ-0014795889
                 2014 P&L
                                                       2014                               DOJ-0014795890   DOJ-0014795890
                                                                                          DOJ-0014795891   DOJ-0014795891




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No.     Date                Description                          Relevance                   BegDocID         EndDocID       Deft Objections
                                                                                           DOJ-0014797412   DOJ-0014797413
                                                       Email sent to JPMorgan              DOJ-0014797414   DOJ-0014797414
                 Email (incl. attachments) from C.
                                                       precious metals desk personnel      DOJ-0014797415   DOJ-0014797415
                 Tang to JPMorgan precious metals
294   12/31/2015                                       attaching excel files containing    DOJ-0014797416   DOJ-0014797416
                 desk personnel re: consolidated
                                                       the consolidated desk P&L for       DOJ-0014797417   DOJ-0014797417
                 2015 P&L
                                                       2015                                DOJ-0014797418   DOJ-0014797418
                                                                                           DOJ-0014797419   DOJ-0014797419
                                                       Email sent to JPMorgan              DOJ-0014802867   DOJ-0014802870
                 Email (inc. attachments) from N.
                                                       precious metals desk personnel      DOJ-0014802871   DOJ-0014802871
                 Patel to JPMorgan precious metals
295   12/30/2016                                       attaching excel files containing    DOJ-0014802872   DOJ-0014802872
                 desk personnel re: consolidated
                                                       the consolidated desk P&L for       DOJ-0014802873   DOJ-0014802873
                 2016 P&L
                                                       2016                                DOJ-0014802874   DOJ-0014802874
                                                       Discussion re: Piller’s P&L for
                                                       the year and impact on
                   Bloomberg Chat with M. Nowak
296   11/13/2012                                       compensation. Nowak notes           DOJ-0009272769 DOJ-0009272771
                   and S. Piller
                                                       that P&L will limit both of them
                                                       for the year.
                                                       Nowak requests information
                                                       from Ruffo re: his P&L for the
                   Bloomberg Chat with M. Nowak        year, Ruffo responds, and
297   10/29/2013                                                                           DOJ-0006386337 DOJ-0006386339
                   and J. Ruffo                        Nowak updates him on
                                                       outcomes from evaluation
                                                       committee meeting
                                                       Discussion of trading activity in
                                                       precious metals markets and
                                                       updates on JPMorgan precious
                                                       metals desk trading activity.
                   Bloomberg Chat with M. Nowak
298   5/15/2013                                        Piller asks Nowak if he made        DOJ-0006338906 DOJ-0006338913
                   and S. Piller
                                                       clear to another precious metals
                                                       trader that one of the global
                                                       desk books will directly impact
                                                       his renumeration.




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No.     Date                Description                            Relevance                BegDocID        EndDocID       Deft Objections
                                                        Nowak emails Tipples re: P&L
                                                        data for Q4 2015, noting that
                  Email from M. Nowak to S. Tipples     the precious metals desk made
299   12/3/2015                                                                           DOJ-0015846321 DOJ-0015846322
                  re: global commodities P&L            up 75% of Q4 revenue for the
                                                        global commodities line of
                                                        business
                                                                                                                        R. 401 relevance;
                  Gregg Smith 2011 Annual               Salary, incentive, and other
300     2011                                                                              DOJ-0011295841 DOJ-0011295841 R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Gregg Smith 2012 Annual               Salary, incentive, and other
301     2012                                                                              DOJ-0011295842 DOJ-0011295842 R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Gregg Smith 2013 Annual               Salary, incentive, and other
302     2013                                                                              DOJ-0011295843 DOJ-0011295843 R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Gregg Smith 2014 Annual               Salary, incentive, and other
303     2014                                                                              DOJ-0011295844 DOJ-0011295844 R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Gregg Smith 2015 Annual               Salary, incentive, and other
304     2015                                                                              DOJ-0011295845 DOJ-0011295845 R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Gregg Smith 2016 Annual               Salary, incentive, and other
305     2016                                                                              DOJ-0011295846 DOJ-0011295846 R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Gregg Smith 2017 Annual               Salary, incentive, and other
306     2017                                                                              DOJ-0011295847 DOJ-0011295847 R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Gregg Smith Equity Incentives         Equity (restricted stock units)
307   2007-2019                                                                           DOJ-0014811561 DOJ-0014811561 R. 403 prejudice,
                  Compensation                          compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Michael Nowak 2011 Annual             Salary, incentive, and other
308     2011                                                                              DOJ-0011295816 DOJ-0011295816 R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                        confusion, delay



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No.     Date                Description                         Relevance                 BegDocID       EndDocID        Deft Objections
                                                                                                                        R. 401 relevance;
                  Michael Nowak 2012 Annual           Salary, incentive, and other
309     2012                                                                            DOJ-0011295817 DOJ-0011295817   R. 403 prejudice,
                  Compensation Summary                compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Michael Nowak 2013 Annual           Salary, incentive, and other
310     2013                                                                            DOJ-0011295818 DOJ-0011295818   R. 403 prejudice,
                  Compensation Summary                compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Michael Nowak 2014 Annual           Salary, incentive, and other
311     2014                                                                            DOJ-0014804990 DOJ-0014804990   R. 403 prejudice,
                  Compensation Summary                compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Michael Nowak 2015 Annual           Salary, incentive, and other
312     2015                                                                            DOJ-0011295819 DOJ-0011295820   R. 403 prejudice,
                  Compensation Summary                compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Michael Nowak 2016 Annual           Salary, incentive, and other
313     2016                                                                            DOJ-0011295821 DOJ-0011295821   R. 403 prejudice,
                  Compensation Summary                compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Michael Nowak 2017 Annual           Salary, incentive, and other
314     2017                                                                            DOJ-0011295822 DOJ-0011295822   R. 403 prejudice,
                  Compensation Summary                compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Michael Nowak Equity Incentives     Equity (restricted stock units)
315   2002-2019                                                                         DOJ-0014811557 DOJ-0014811558   R. 403 prejudice,
                  Compensation                        compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Jeffrey Ruffo 2011 Annual           Salary, incentive, and other
316     2011                                                                            DOJ-0011295851 DOJ-0011295851   R. 403 prejudice,
                  Compensation Summary                compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Jeffrey Ruffo 2012 Annual           Salary, incentive, and other
317     2012                                                                            DOJ-0011295852 DOJ-0011295852   R. 403 prejudice,
                  Compensation Summary                compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Jeffrey Ruffo 2013 Annual           Salary, incentive, and other
318     2013                                                                            DOJ-0011295853 DOJ-0011295853   R. 403 prejudice,
                  Compensation Summary                compensation information
                                                                                                                        confusion, delay
                                                                                                                        R. 401 relevance;
                  Jeffrey Ruffo 2014 Annual           Salary compensation
319     2014                                                                            DOJ-0011295854 DOJ-0011295854   R. 403 prejudice,
                  Compensation Summary                information
                                                                                                                        confusion, delay



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No.   Date             Description                      Relevance                 BegDocID        EndDocID     Deft Objections
                                                                                                              R. 401 relevance;
             Jeffrey Ruffo 2015 Annual        Salary compensation
320   2015                                                                    DOJ-0011295855 DOJ-0011295855   R. 403 prejudice,
             Compensation Summary             information
                                                                                                              confusion, delay
                                                                                                              R. 401 relevance;
             Jeffrey Ruffo 2016 Annual        Salary, incentive, and other
321   2016                                                                    DOJ-0011295856 DOJ-0011295856   R. 403 prejudice,
             Compensation Summary             compensation information
                                                                                                              confusion, delay
                                                                                                              R. 401 relevance;
             John Edmonds 2011 Annual         Salary, incentive, and other
322   2011                                                                    DOJ-0011295810 DOJ-0011295810   R. 403 prejudice,
             Compensation Summary             compensation information
                                                                                                              confusion, delay
                                                                                                              R. 401 relevance;
             John Edmonds 2012 Annual         Salary, incentive, and other
323   2012                                                                    DOJ-0011295811 DOJ-0011295811   R. 403 prejudice,
             Compensation Summary             compensation information
                                                                                                              confusion, delay
                                                                                                              R. 401 relevance;
             John Edmonds 2013 Annual         Salary, incentive, and other
324   2013                                                                    DOJ-0011295812 DOJ-0011295812   R. 403 prejudice,
             Compensation Summary             compensation information
                                                                                                              confusion, delay
                                                                                                              R. 401 relevance;
             John Edmonds 2014 Annual         Salary, incentive, and other
325   2014                                                                    DOJ-0011295813 DOJ-0011295813   R. 403 prejudice,
             Compensation Summary             compensation information
                                                                                                              confusion, delay
                                                                                                              R. 401 relevance;
             John Edmonds 2015 Annual         Salary, incentive, and other
326   2015                                                                    DOJ-0011295814 DOJ-0011295814   R. 403 prejudice,
             Compensation Summary             compensation information
                                                                                                              confusion, delay
                                                                                                              R. 401 relevance;
             John Edmonds 2016 Annual         Salary, incentive, and other
327   2016                                                                    DOJ-0011295815 DOJ-0011295815   R. 403 prejudice,
             Compensation Summary             compensation information
                                                                                                              confusion, delay
                                                                                                              R. 401 relevance;
             Christian Trunz 2011 Annual      Salary, incentive, and other
328   2011                                                                    DOJ-0011295829 DOJ-0011295829   R. 403 prejudice,
             Compensation Summary             compensation information
                                                                                                              confusion, delay
                                                                                                              R. 401 relevance;
             Christian Trunz 2012 Annual      Salary, incentive, and other
329   2012                                                                    DOJ-0011295830 DOJ-0011295830   R. 403 prejudice,
             Compensation Summary             compensation information
                                                                                                              confusion, delay
                                                                                                              R. 401 relevance;
             Christian Trunz 2013 Annual      Salary, incentive, and other
330   2013                                                                    DOJ-0011295831 DOJ-0011295831   R. 403 prejudice,
             Compensation Summary             compensation information
                                                                                                              confusion, delay



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No.     Date                Description                           Relevance                 BegDocID       EndDocID        Deft Objections
                                                                                                                          R. 401 relevance;
                  Christian Trunz 2014 Annual           Salary, incentive, and other
331     2014                                                                              DOJ-0011295832 DOJ-0011295832   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Christian Trunz 2015 Annual           Salary, incentive, and other
332     2015                                                                              DOJ-0011295833 DOJ-0011295833   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Christian Trunz 2016 Annual           Salary, incentive, and other
333     2016                                                                              DOJ-0011295834 DOJ-0011295834   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Christian Trunz 2017 Annual           Salary, incentive, and other
334     2017                                                                              DOJ-0011295835 DOJ-0011295835   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Christian Trunz Equity Incentives     Equity (restricted stock units)
335   2002-2019                                                                           DOJ-0014811562 DOJ-0014811562   R. 403 prejudice,
                  Compensation                          compensation information
                                                                                                                          confusion, delay
                                                        Contains HR information such                                      R. 401 relevance;
                  Michel Simonian JPMorgan
336   2004-2014                                         as employment history and         DOJ-0008293685 DOJ-0008293694   R. 403 prejudice,
                  Human Resources Profile
                                                        compensation information                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Michel Simonian 2011 Annual           Salary, incentive, and other
337     2011                                                                              DOJ-0011295864 DOJ-0011295864   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Michel Simonian 2012 Annual           Salary, incentive, and other
338     2012                                                                              DOJ-0011295865 DOJ-0011295865   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Michel Simonian 2013 Annual           Salary, incentive, and other
339     2013                                                                              DOJ-0011295866 DOJ-0011295866   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                        Cash and equity (restricted                                       R. 401 relevance;
                  Michel Simonian Cash and Equity
340   2005-2014                                         stock units) compensation         DOJ-0014804986 DOJ-0014804987   R. 403 prejudice,
                  Incentives Compensation
                                                        information                                                       confusion, delay
                                                        Contains HR information such                                      R. 401 relevance;
                  Donald Turnbull JPMorgan Human
341   2005-2018                                         as employment history and         DOJ-0008293753 DOJ-0008293762   R. 403 prejudice,
                  Resources Profile
                                                        compensation information                                          confusion, delay



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No.     Date                Description                           Relevance                 BegDocID       EndDocID        Deft Objections
                                                                                                                          R. 401 relevance;
                  Donald Turnbull 2011 Annual           Salary, incentive, and other
342     2011                                                                              DOJ-0011295823 DOJ-0011295823   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Donald Turnbull 2012 Annual           Salary, incentive, and other
343     2012                                                                              DOJ-0011295824 DOJ-0011295824   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Donald Turnbull 2013 Annual           Salary, incentive, and other
344     2013                                                                              DOJ-0011295825 DOJ-0011295825   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Donald Turnbull 2015 Annual           Salary, incentive, and other
345     2015                                                                              DOJ-0011295826 DOJ-0011295826   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Donald Turnbull 2016 Annual           Salary, incentive, and other
346     2016                                                                              DOJ-0011295827 DOJ-0011295827   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Donald Turnbull 2017 Annual           Salary, incentive, and other
347     2017                                                                              DOJ-0011295828 DOJ-0011295828   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Donald Turnbull Equity Incentives     Equity (restricted stock units)
348   2009-2019                                                                           DOJ-0014811563 DOJ-0014811563   R. 403 prejudice,
                  Compensation                          compensation information
                                                                                                                          confusion, delay
                                                        Contains HR information such                                      R. 401 relevance;
                  Stuart Piller JPMorgan Human
349   2003-2017                                         as employment history and         DOJ-0014053676 DOJ-0014053683   R. 403 prejudice,
                  Resources Profile
                                                        compensation information                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Stuart Piller 2011 Annual             Salary, incentive, and other
350     2011                                                                              DOJ-0014053962 DOJ-0014053962   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Stuart Piller 2012 Annual             Salary, incentive, and other
351     2012                                                                              DOJ-0014053963 DOJ-0014053963   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay
                                                                                                                          R. 401 relevance;
                  Stuart Piller 2013 Annual             Salary, incentive, and other
352     2013                                                                              DOJ-0014053964 DOJ-0014053964   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                          confusion, delay



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No.     Date                 Description                          Relevance                 BegDocID       EndDocID       Deft Objections
                                                                                                                         R. 401 relevance;
                  Stuart Piller 2014 Annual             Salary, incentive, and other
353     2014                                                                             DOJ-0014053965 DOJ-0014053966   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                         confusion, delay
                                                                                                                         R. 401 relevance;
                  Stuart Piller 2015 Annual             Salary, incentive, and other
354     2015                                                                             DOJ-0014053967 DOJ-0014053968   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                         confusion, delay
                                                                                                                         R. 401 relevance;
                  Stuart Piller 2016 Annual             Salary, incentive, and other
355     2016                                                                             DOJ-0014053969 DOJ-0014053969   R. 403 prejudice,
                  Compensation Summary                  compensation information
                                                                                                                         confusion, delay
                                                        Cash and equity (restricted                                      R. 401 relevance;
                  Stuart Piller Cash and Equity
356   2004-2017                                         stock units) compensation        DOJ-0014804988 DOJ-0014804989   R. 403 prejudice,
                  Incentives Compensation
                                                        information                                                      confusion, delay
357       -       Intentionally Left Blank
358       -       Intentionally Left Blank
359       -       Intentionally Left Blank
360       -       Intentionally Left Blank
361       -       Intentionally Left Blank
362       -       Intentionally Left Blank
363       -       Intentionally Left Blank
364       -       Intentionally Left Blank
                                                        Signed by M. Nowak as Chief
                  2015 Swap Dealer Annual               Executive Officer of JPMVEC,
                  Compliance Report for J.P. Morgan     and contains org chart showing
365   3/29/2016                                                                          DOJ-0014774451 DOJ-0014774594 R. 401 relevance
                  Ventures Energy Corp.                 M. Nowak as CEO of JPMVEC
                  (“JPMVEC”)                            and Global Head of Precious
                                                        and Base Metals Trading




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No.     Date                 Description                             Relevance                 BegDocID         EndDocID       Deft Objections
                                                          Contains a list of Tag50s used
                                                          by certain traders on
                                                          JPMorgan’s precious metals
                  CME Group COMEX Exemption               desk, a description of the
366   9/14/2010                                                                              DOJ-0019999990 DOJ-0019999995
                  Approval Application                    hierarchy on the desk, and a
                                                          description of JPMorgan’s
                                                          precious metals business, and is
                                                          signed by M. Nowak
                                                          Contains a list of Tag50s used
                                                          by certain traders on
                                                          JPMorgan’s precious metals
                  NYMEX Exemption Approval                desk, a description of the
367   5/19/2011                                                                              DOJ-0019999980 DOJ-0019999988
                  Application                             hierarchy on the desk, and a
                                                          description of JPMorgan’s
                                                          precious metals business, and is
                                                          signed by M. Nowak
                                                          Contains a description of
                  CME Group NYMEX Application to          JPMorgan’s precious metals
368   7/30/2013                                                                              DOJ-0020000004 DOJ-0020000008 R. 401 relevance
                  Exceed Position Limits                  business, and is signed by M.
                                                          Nowak
                  Transcript of CFTC Deposition of
                  Michael Nowak (Vol. 1) pages 1-6,       Nowak’s statements regarding
369   8/3/2010    16-19, 20-25, 28, 33-35, 46-48, 50-     precious metals trading at         DOJ-0021206303 DOJ-0021206398 See Appendix A
                  53, 57, 72-73, 83-84, 106-107, 219-     JPMorgan
                  220
                  Transcript of CFTC Deposition of        Nowak’s statements regarding
370   8/4/2010    Michael Nowak (Vol. 2) pages 265,       precious metals trading at         DOJ-0021206399 DOJ-0021206477 See Appendix A
                  347, 360, 381-385, 397, 440-442         JPMorgan
                  Transcript of CFTC Deposition of        Jordan’s statements regarding                                        R. 802 hearsay;
371   9/15/2010   Christopher Jordan (Vol. 1) pages       precious metals trading at         DOJ-0008239385   D0J-0008239673   R. 403 prejudice,
                  1-8                                     JPMorgan                                                             confusion, delay
                  Transcript of CFTC Deposition of
                                                          Jordan’s statements regarding
372   9/16/2010   Christopher Jordan (Vol. 2) pages                                          DOJ-0008239769   D0J-0008239960   See Appendix A
                                                          trading activity at JPMorgan
                  1-4, 151-157


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No.     Date                 Description                           Relevance                  BegDocID        EndDocID       Deft Objections
                 Transcript of CFTC Deposition of        Smith’s statements regarding
373   2/17/2017 Gregg Smith pages 1-4, 29, 62-63,        precious metals trading at         DOJ-0008247576 DOJ-0008247826 See Appendix A
                 135, 162-166                            JPMorgan
                 Transcript of Deposition of
                                                         Trunz’s statements regarding
                 Christian Trunz in Shak v. J.P.
374   12/19/2017                                         precious metals trading at         DOJ-0016991981 DOJ-0016992231 R. 802 hearsay
                 Morgan Chase & Co., 15 Civ. 994
                                                         JPMorgan
                 (S.D.N.Y.) pages 36, 51, 209-10, 213
                 Transcript of Deposition of Gregg
                 Smith in Shak v. J.P. Morgan            Smith’s statements regarding
375   11/15/2017 Chase & Co., 15 Civ. 994 (S.D.N.Y.)     precious metals trading at         DOJ-0016994479 DOJ-0016994781 See Appendix A
                 pages 96-98, 139, 150-153, 247-248,     JPMorgan
                 252
                                                                                                                          Objections
                 Transcript of Deposition of Michael                                                                      reserved pending
                                                         Nowak’s statements regarding
                 Nowak in Shak v. J.P. Morgan                                                                             receipt of the
376   10/25/2017                                         precious metals trading at         DOJ-0016997076 DOJ-0016997355
                 Chase & Co., 15 Civ. 994 (S.D.N.Y.)                                                                      government’s
                                                         JPMorgan
                 (no designations at this time)                                                                           transcript
                                                                                                                          designations
                  CFTC Press Release, “Hedge Fund
                  Moore Capital Management, LP,
                  and Its Affiliates Moore Capital       Settling the CFTC’s
                  Advisors, LLC and Moore Advisors,      investigation into Moore Capital                                 R. 401 relevance;
377   4/29/2010   Ltd., Ordered to Pay a $25 Million     for attempted price                DOJ-0021578269 DOJ-0021578270 R. 403 prejudice,
                  Penalty to Settle CFTC Charges of      manipulation of platinum and                                     confusion, delay
                  Attempted Manipulation of              palladium futures prices
                  Platinum and Palladium Futures
                  Settlement Prices”




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No.     Date                 Description                            Relevance                 BegDocID        EndDocID       Deft Objections
                                                         Contains a WSJ article
                                                         regarding the CFTC’s $25
                                                         million settlement with Moore
                                                                                                                          R. 401 relevance;
                  Email from J. Ruffo to G. Smith &      Capital and the CFTC’s
378   8/20/2010                                                                             DOJ-0017144502 DOJ-0017144505 R. 403 prejudice,
                  R. Gottlieb                            continuing investigation of
                                                                                                                          confusion, delay
                                                         Chris Pia (Moore Capital) for
                                                         improperly trying to push up
                                                         platinum and palladium prices
                                                         Forwarding an email from the
                                                         CFTC announcing that Chris
                  Email from A. Nakkab to J. Ruffo,                                                                       R. 401 relevance;
                                                         Pia (Moore Capital) was settling
379   7/25/2011   M. Nowak, G. Smith, P. Sellars, M.                                        DOJ-0021413644 DOJ-0021413644 R. 403 prejudice,
                                                         the CFTC’s investigation into
                  Camacho & E. Ferrara                                                                                    confusion, delay
                                                         attempted manipulation of
                                                         platinum and palladium prices
                                                         Full CFTC press release
                                                         announcing resolution of its
                                                                                                                          R. 401 relevance;
                                                         investigation into Chris Pia
380   7/25/2011   CFTC Press Release                                                        DOJ-0021578271 DOJ-0021578272 R. 403 prejudice,
                                                         (Moore Capital) for attempted
                                                                                                                          confusion, delay
                                                         manipulation of platinum and
                                                         palladium prices
381       -       Intentionally Left Blank
382       -       Intentionally Left Blank
                                                         Contains seating chart
                  Email from Diana Mungo to              information for JPMorgan’s         DOJ-0021414147 DOJ-0021414147
383   6/24/2008
                  Michael Nowak and others               precious metals desk in New        DOJ-0021414148 DOJ-0021414148
                                                         York
                                                         Contains seating chart
                  Email from Diana Mungo to              information for JPMorgan’s         DOJ-0015379269 DOJ-0015379269
384   3/30/2009
                  Michael Nowak and others               precious metals desk in New        DOJ-0015379270 DOJ-0015379270
                                                         York
                                                         Contains seating chart
                  Email from Diana Mungo to              information for JPMorgan’s         DOJ-0015380528 DOJ-0015380528
385   5/14/2009
                  Michael Nowak and others               precious metals desk in New        DOJ-0015380529 DOJ-0015380529
                                                         York


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No.     Date                 Description                         Relevance                 BegDocID     EndDocID     Deft Objections
                                                       Contains seating chart
                  Email from Diana Mungo to            information for JPMorgan’s    DOJ-0021414145 DOJ-0021414145
386   6/11/2009
                  Michael Nowak and others             precious metals desk in New   DOJ-0021414146 DOJ-0021414146
                                                       York
                                                       Contains seating chart
                  Email from Diana Mungo to            information for JPMorgan’s    DOJ-0015797546 DOJ-0015797546
387   8/23/2010
                  Commodities NYC                      precious metals desk in New   DOJ-0015797547 DOJ-0015797547
                                                       York
                                                       Contains seating chart
                  Email from Diana Mungo to            information for JPMorgan’s    DOJ-0015250639 DOJ-0015250639
388   6/13/2011
                  Commodities NYC                      precious metals desk in New   DOJ-0015250640 DOJ-0015250640
                                                       York
                                                       Contains seating chart
                  Email from Diana Mungo to            information for JPMorgan’s    DOJ-0015267808 DOJ-0015267808
389   6/1/2012
                  Commodities NYC                      precious metals desk in New   DOJ-0015267809 DOJ-0015267809
                                                       York
                                                       Contains seating chart
                  Excel file, “10 383 Seating 2013     information for JPMorgan’s
390     2013                                                                         DOJ-0014778227 DOJ-0014778227
                  Master.xls”                          precious metals desk in New
                                                       York
                                                       Contains seating chart
                  Excel file, “383 10 FI 28 Dec        information for JPMorgan’s
391     2014                                                                         DOJ-0014778235 DOJ-0014778235
                  2014.xls”                            precious metals desk in New
                                                       York
                                                       Contains seating chart
                  Email from Mark Amlin to Eugene      information for JPMorgan’s    DOJ-0014805684 DOJ-0014805684
392   3/12/2015
                  Ferrara, et al                       precious metals desk in New   DOJ-0014805685 DOJ-0014805685
                                                       York
                                                       Contains seating chart
                  Email from Mark Amlin to Brenda      information for JPMorgan’s    DOJ-0014805718 DOJ-0014805718
393   5/20/2015
                  Pelicot-Ortiz and others             precious metals desk in New   DOJ-0014805719 DOJ-0014805719
                                                       York




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No.     Date                  Description                            Relevance                  BegDocID         EndDocID       Deft Objections
                                                           Contains seating chart
                   Email from Mark Amlin to Donald         information for JPMorgan’s         DOJ-0016070605 DOJ-0016070606
394   12/14/2015
                   Turnbull and others                     precious metals desk in New        DOJ-0016070607 DOJ-0016070607
                                                           York
                                                           M. Nowak’s sketch of the
                   Exhibit 2 from 8/3/2010 CFTC
395    8/3/2010                                            seating configuration in 2010 at   DOJ-0021206486 DOJ-0021206487
                   Deposition of Michael Nowak
                                                           JPMorgan’s New York office
                   Photos of JPMorgan’s precious
                                                           Shows physical layout of the
396       -        metals desk on the trading floor at                                        DOJ-0014773201 DOJ-0014773203
                                                           trading desk
                   its offices in New York
397       -        Intentionally Left Blank
398       -        Intentionally Left Blank
399       -        Intentionally Left Blank
      Jan. 2008
                   Trade blotter data from JPM’s           Order information for the
400    - April                                                                                DOJ-0021509988 DOJ-0021509997
                   Murex system                            relevant time period
        2010
                   Trade blotter data from JPM’s           Order information for the
401   2010-2011                                                                               DOJ-0021550555 DOJ-0021550578
                   Athena system                           relevant time period
                   Trade blotter data from JPM’s           Order information for the
402     2012                                                                                  DOJ-0021550543 DOJ-0021550554
                   Athena system                           relevant time period
                   Trade blotter data from JPM’s           Order information for the
403     2013                                                                                  DOJ-0021509998 DOJ-0021510009
                   Athena system                           relevant time period
                   Trade blotter data from JPM’s           Order information for the          DOJ-0021550579   DOJ-0021550589
404     2014
                   Athena system                           relevant time period               DOJ-0021561868   DOJ-0021561868
                   Trade blotter data from JPM’s           Order information for the          DOJ-0021550590   DOJ-0021550599
405     2015
                   Athena system                           relevant time period               DOJ-0021561869   DOJ-0021561872
                   Trade blotter data from JPM’s           Order information for the
406     2016                                                                                  DOJ-0021550600 DOJ-0021550633
                   Athena system                           relevant time period




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No.     Date                Description                          Relevance                   BegDocID         EndDocID       Deft Objections
                                                                                           DOJ-0016819993   DOJ-0016819993
                  Hard Drive with COMEX and
                                                       Full market trading data from       DOJ-0016819994   DOJ-0016819994
                  NYMEX Order Book (“Rapid”) and
                                                       COMEX and NYMEX for                 DOJ-0016819995   DOJ-0016819995
407   2008-2016   Market Depth (“Armada”) Data for
                                                       precious metals futures             DOJ-0016819996   DOJ-0016819996
                  Gold, Silver, Platinum, and
                                                       contracts                           DOJ-0016819997   DOJ-0016819997
                  Palladium Futures Contracts
                                                                                           DOJ-0016819998   DOJ-0016819998
                                                       CME Rule prohibiting certain
                                                       offenses and covering disruptive
408       -       CME Rule 432                         trading practices that were later   DOJ-0021577447 DOJ-0021577466
                                                       prohibited specifically by Rule
                                                       575
                                                       CME advisory notice describing
                                                       new CME Rule 575 that
                  CME Market Regulation Advisory
                                                       prohibits certain disruptive                                          R. 403 prejudice,
409   9/15/2014   Notice - Rule 575 Disruptive                                             DOJ-0021577436 DOJ-0021577446
                                                       trading practices and notes that                                      confusion, delay
                  Practices Prohibited
                                                       such practices have historically
                                                       been prohibited by Rule 432
                  Organizational Charts & Job Title                                                                          Objections
                                                       Chart summarizing JPMC-PM-
410   2008-2018   Hierarchy for JPMorgan Precious                                                                            reserved pending
                                                       00000001
                  Metals Desk (2008 - 2018)                                                                                  receipt of exhibit
                  JPMorgan Precious Metals                                                                                   Objections
                                                       Chart summarizing GX 268 -
411   2008-2016   Trader/Salesperson Location Chart                                                                          reserved pending
                                                       274
                  (2008-2016)                                                                                                receipt of exhibit
                  Seating Chart for JPMorgan                                                                                 Objections
                                                       Chart summarizing GX 383 -
412   2008-2015   Precious Metals Desk in New York                                                                           reserved pending
                                                       394
                  (2008 - 2015)                                                                                              receipt of exhibit
                  Annual Profit & Loss by Trader on                                                                          Objections
                                                       Chart summarizing GX 281 -
413   2008-2016   JPMorgan Precious Metals Desk                                                                              reserved pending
                                                       295
                  (2008 - 2016)                                                                                              receipt of exhibit
                  Annual Compensation for Members                                                                            Objections
                                                       Chart summarizing GX 300 -
414   2008-2016   of the JPMorgan Precious Metals                                                                            reserved pending
                                                       356
                  Desk (2008 - 2016)                                                                                         receipt of exhibit




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No.     Date                  Description                        Relevance                 BegDocID        EndDocID       Deft Objections
                   Top 5 JPMorgan Precious Metals                                                                        Objections
                                                       Chart summarizing GX 126 -
415   2008-2016    Clients by AFR per Year (2008 -                                                                       reserved pending
                                                       130
                   2016)                                                                                                 receipt of exhibit
                                                                                                                         Objections
                   Jeffrey Ruffo Yearly Precious       Chart summarizing GX 126 -
416   2008-2016                                                                                                          reserved pending
                   Metals AFR (2008-2016)              130
                                                                                                                         receipt of exhibit
                                                                                                                         Objections
                   Compliance Training Attendance      Chart summarizing GX 173, 428
417    Various                                                                                                           reserved pending
                   Summary                             - 443
                                                                                                                         receipt of exhibit
418       -        Intentionally Left Blank
419       -        Intentionally Left Blank
420       -        Intentionally Left Blank
                                                       Handwritten notes from
                                                                                                                       R. 401 relevance;
                                                       Michael Nowak regarding
421       -        Nowak Journal (Hard Copy)                                             DOJ-0021626587 DOJ-0021626892 R. 403 prejudice,
                                                       members of JPMorgan’s
                                                                                                                       confusion, delay
                                                       precious metals desk
                                                       Handwritten notes from
                                                                                                                       R. 401 relevance;
                                                       Michael Nowak regarding
422       -        Nowak Journal (Hard Copy)                                             DOJ-0021626893 DOJ-0021627174 R. 403 prejudice,
                                                       members of JPMorgan’s
                                                                                                                       confusion, delay
                                                       precious metals desk
                                                       Handwritten notes from
                                                                                                                       R. 401 relevance;
                                                       Michael Nowak regarding
423       -        Nowak Hard Copy Document                                              DOJ-0021628263 DOJ-0021628263 R. 403 prejudice,
                                                       members of JPMorgan’s
                                                                                                                       confusion, delay
                                                       precious metals desk
                                                       Handwritten notes from
                                                                                                                       R. 401 relevance;
                                                       Michael Nowak regarding
424       -        Nowak Hard Copy Document                                              DOJ-0021628270 DOJ-0021628270 R. 403 prejudice,
                                                       members of JPMorgan’s
                                                                                                                       confusion, delay
                                                       precious metals desk
                                                       Discussion related to a barrier
                   Recording of a phone call between
425   11/19/2008                                       option between JPMorgan and       DOJ-0021628952 DOJ-0021628952 R. 802 hearsay
                   Claudia Cattaneo & Luisa Graziani
                                                       BIMBank




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No.     Date                 Description                            Relevance                 BegDocID       EndDocID       Deft Objections
                 English-language translation and         Discussion related to a barrier
426   11/19/2008 transcript of a phone call between       option between JPMorgan and                                       R. 802 hearsay
                 Claudia Cattaneo & Luisa Graziani        BIMBank
                                                                                                                            R. 401 relevance;
                   Information, United States v.          Information filed in connection                                   R. 403 prejudice,
427   10/9/2018
                   Edmonds (D. Conn.)                     with John Edmonds’ guilty plea                                    confusion, delay;
                                                                                                                            R. 802 hearsay
                                                                                                                            R. 401 relevance;
                   Market Abuse and Information           Email invitation for a
428   10/14/2014                                                                            DOJ-0015638423 DOJ-0015638424   R. 403 prejudice,
                   Barriers 2014 Email Invite             compliance training
                                                                                                                            confusion, delay
                 Global Commodities Group Annual                                                                            R. 401 relevance;
                                                          Sign-in sheet for a compliance
429   11/21/2013 Compliance Training 2013 Sign-In                                           DOJ-0021207635 DOJ-0021207639   R. 403 prejudice,
                                                          training
                 Sheet                                                                                                      confusion, delay
                                                                                                                            R. 401 relevance;
                   Core Policies and Principles for CIB   Sign-in sheet for a compliance
430   12/12/2013                                                                            DOJ-0021207640 DOJ-0021207641   R. 403 prejudice,
                   Markets - Trading Sign-In Sheet        training
                                                                                                                            confusion, delay
                 Compliance Education Global                                                                                R. 401 relevance;
                                                          Sign-in sheet for a compliance
431   1/25/2010 Commodities Group North America                                             DOJ-0021207675 DOJ-0021207675   R. 403 prejudice,
                                                          training
                 Sign-In Sheet                                                                                              confusion, delay
                 Global Commodities Group Annual                                                                            R. 401 relevance;
                                                          Sign-in sheet for a compliance
432   11/13/2012 Compliance Training 2012 Sign-In                                           DOJ-0021207692 DOJ-0021207692   R. 403 prejudice,
                                                          training
                 Sheet                                                                                                      confusion, delay
                 Global Commodities Group Annual                                                                            R. 401 relevance;
                                                          Attendance sheet for a
433   11/13/2012 Compliance Training 2012                                                   DOJ-0021207693 DOJ-0021207698   R. 403 prejudice,
                                                          compliance training
                 Attendance Sheet                                                                                           confusion, delay
                 Global Commodities Group Annual                                                                            R. 401 relevance;
                                                          Attendance sheet for a
434   11/3/2014 Compliance Training 2014                                                    DOJ-0021207789 DOJ-0021207794   R. 403 prejudice,
                                                          compliance training
                 Attendance Sheet                                                                                           confusion, delay
                                                                                                                            R. 401 relevance;
                   Annual Compliance Training 2011 -      Attendance sheet for a
435   11/29/2011                                                                            DOJ-0021207842 DOJ-0021207846   R. 403 prejudice,
                   Makeup Session Attendance Sheet        compliance training
                                                                                                                            confusion, delay




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No.     Date                   Description                         Relevance                 BegDocID        EndDocID       Deft Objections
                   Edmonds Accepts Email Invite to
                   Compliance Education Global           Email invitation acceptance for
436   1/20/2010                                                                            DOJ-0021611765 DOJ-0021611765
                   Commodities Group North America       a compliance training
                   Training
                   Calendar Invite to Smith for
                                                         Email invitation for a
437   11/29/2011   Annual Compliance Training 2011 -                                       DOJ-0021611766 DOJ-0021611767
                                                         compliance training
                   Makeup Session
                   Calendar Invite to Ruffo for Annual   Email invitation for a
438   11/9/2011                                                                            DOJ-0021611769 DOJ-0021611770
                   Compliance Training 2011              compliance training
                   Calendar Invite for Global
                                                         Email invitation for a
439   10/13/2014   Commodities Group Annual                                                DOJ-0021611874 DOJ-0021611876
                                                         compliance training
                   Compliance Training 2014
                   Calendar Invite for Market Abuse                                                                      R. 401 relevance;
                                                         Email invitation for a
440   10/14/2014   and Information Barriers Training                                       DOJ-0021611992 DOJ-0021611992 R. 403 prejudice,
                                                         compliance training
                   2014                                                                                                  confusion, delay
                   Training Completion Confirmation                                                                      R. 401 relevance;
                                                         Compliance training completion
441   12/10/2012   for Dodd-Frank Go Live Instructor-                                      DOJ-0021612003 DOJ-0021612003 R. 403 prejudice,
                                                         list
                   Led Training                                                                                          confusion, delay
                   Core Policies and Principles                                                                          R. 401 relevance;
                                                         Sign-in sheet for a compliance
442   1/27/2014    for CIB Markets - Trading Sign-In                                       DOJ-0021612005 DOJ-0021612005 R. 403 prejudice,
                                                         training
                   Sheet                                                                                                 confusion, delay
                                                         Discussion of CFTC fine of
                                                                                                                         R. 401 relevance;
                   Email between M. Nowak & B.           Moore Capital for attempted
443   4/29/2010                                                                            DOJ-0021622163 DOJ-0021622163 R. 403 prejudice,
                   Masters                               manipulation of platinum and
                                                                                                                         confusion, delay
                                                         palladium futures prices
                   Email between from M. Camacho to      Discussion of CFTC settlement
                                                                                                                         R. 401 relevance;
                   S. Karnik, M. Christ, M. Nowak, M.    with Moore Capital regarding
444   4/30/2010                                                                            DOJ-0021624591 DOJ-0021624593 R. 403 prejudice,
                   Bressler, B. Masters, K. Roberts &    manipulation of platinum and
                                                                                                                         confusion, delay
                   A. Nakkab                             palladium futures prices
445       -        Intentionally Left Blank
446       -        Intentionally Left Blank
447       -        Intentionally Left Blank




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No.    Date                Description                         Relevance               BegDocID       EndDocID    Deft Objections
                                                   Demonstrative exhibit providing                               Objections
448   6/9/2009   GSMITH Episode Tutorial           an overview of the government’s                               reserved pending
                                                   trading sequence charts                                       receipt of exhibit
                                                   Demonstrative exhibit providing                               Objections
449   6/7/2012   MNOWAK Episode Tutorial           an overview of the government’s                               reserved pending
                                                   trading sequence charts                                       receipt of exhibit
                                                   Charts showing trading
                 100 Gregg Smith Trading           sequences previously disclosed                                Objections
450   Various    Sequences (BSNGSMITH;             on June 20, 2021 that the                                     reserved pending
                 GSMITH)                           government expects to offer in                                receipt of exhibit
                                                   its case-in-chief at trial
                                                   Charts showing trading
                                                   sequences previously disclosed                                Objections
                 100 Michael Nowak Trading
451   Various                                      on June 20, 2021 that the                                     reserved pending
                 Sequences (MNOWAK)
                                                   government expects to offer in                                receipt of exhibit
                                                   its case-in-chief at trial
                                                   Charts showing trading
                                                   sequences previously disclosed                                Objections
                 30 Christopher Jordan Trading
452   Various                                      on June 20, 2021 that the                                     reserved pending
                 Sequences (CJORDAN
                                                   government expects to offer in                                receipt of exhibit
                                                   its case-in-chief at trial
                                                   Charts showing trading
                                                   sequences previously disclosed                                Objections
                 40 John Edmonds Trading
453   Various                                      on June 20, 2021 that the                                     reserved pending
                 Sequences (JEDMONDS)
                                                   government expects to offer in                                receipt of exhibit
                                                   its case-in-chief at trial
                                                   Charts showing trading
                 55 Christian Trunz Trading        sequences previously disclosed                                Objections
454   Various    Sequences (BSNCTRUNZ;             on June 20, 2021 that the                                     reserved pending
                 CRTUNZ)                           government expects to offer in                                receipt of exhibit
                                                   its case-in-chief at trial




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No.    Date                Description                            Relevance               BegDocID    EndDocID   Deft Objections
                                                      Charts showing trading
                                                      sequences previously disclosed                             Objections
                15 Michel Simonian Trading
455   Various                                         on June 20, 2021 that the                                  reserved pending
                Sequences (MSIMONIAN)
                                                      government expects to offer in                             receipt of exhibit
                                                      its case-in-chief at trial
                                                      Charts showing trading
                                                      sequences previously disclosed                             Objections
                4 Stuart Piller Trading Sequences
456   Various                                         on June 20, 2021 that the                                  reserved pending
                (SPILLER)
                                                      government expects to offer in                             receipt of exhibit
                                                      its case-in-chief at trial
                                                      Charts showing trading
                                                      sequences previously disclosed                             Objections
                5 Donald Turnbull Trading
457   Various                                         on June 20, 2021 that the                                  reserved pending
                Sequences (DTURNBULL)
                                                      government expects to offer in                             receipt of exhibit
                                                      its case-in-chief at trial
                                                      Charts showing trading
                25 Corey Flaum Trading Sequences      sequences previously disclosed                             Objections
458   Various   (BSNCFLAUM, CFLAUM,                   on June 20, 2021 that the                                  reserved pending
                CCCFLAUM)                             government expects to offer in                             receipt of exhibit
                                                      its case-in-chief at trial
                                                      Charts showing trading
                                                      sequences previously disclosed                             Objections
                3 Karl Klein Trading Sequences
459   Various                                         on June 20, 2021 that the                                  reserved pending
                (ZC110515)
                                                      government expects to offer in                             receipt of exhibit
                                                      its case-in-chief at trial
                                                      Charts showing trading
                                                      sequences previously disclosed                             Objections
                2 John Formanik Trading
460   Various                                         on June 20, 2021 that the                                  reserved pending
                Sequences (ZC314734)
                                                      government expects to offer in                             receipt of exhibit
                                                      its case-in-chief at trial




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No.     Date                Description                            Relevance               BegDocID    EndDocID   Deft Objections
                                                       Charts showing trading
                                                       sequences previously disclosed                             Objections
                  5 Greg Rybalov Trading Sequences
461   Various                                          on June 20, 2021 that the                                  reserved pending
                  (ZC95154)
                                                       government expects to offer in                             receipt of exhibit
                                                       its case-in-chief at trial
                                                       Charts showing trading
                                                       sequences previously disclosed                             Objections
                  17 Alex Gerko Trading Sequences
462   Various                                          on June 20, 2021 that the                                  reserved pending
                  (GSAHFFXTK)
                                                       government expects to offer in                             receipt of exhibit
                                                       its case-in-chief at trial
                                                       Charts showing trading
                                                       sequence previously disclosed on                           Objections
463   3/5/2008    BSNGSMITH Trading Sequence           June 20, 2021 that the                                     reserved pending
                                                       government expects to offer in                             receipt of exhibit
                                                       its case-in-chief at trial
                                                       Charts showing trading
                                                       sequence previously disclosed on                           Objections
464   4/3/2008    BSNGSMITH Trading Sequence           June 20, 2021 that the                                     reserved pending
                                                       government expects to offer in                             receipt of exhibit
                                                       its case-in-chief at trial
                                                       Charts showing trading
                                                       sequence previously disclosed on                           Objections
465   4/3/2008    BSNGSMITH Trading Sequence           June 20, 2021 that the                                     reserved pending
                                                       government expects to offer in                             receipt of exhibit
                                                       its case-in-chief at trial
                                                       Charts showing trading
                                                       sequence previously disclosed on                           Objections
466   5/27/2008   BSNGSMITH Trading Sequence           June 20, 2021 that the                                     reserved pending
                                                       government expects to offer in                             receipt of exhibit
                                                       its case-in-chief at trial




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No.     Date               Description                        Relevance               BegDocID        EndDocID   Deft Objections
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
467   2/24/2009   GSMITH Trading Sequence         June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
468   11/18/2009 SPILLER Trading Sequence         June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
469   5/13/2010   JEDMONDS Trading Sequence       June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
470   5/24/2010   GSMITH Trading Sequence         June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
471   5/24/2010   GSMITH Trading Sequence         June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
472   10/14/2010 GSMITH Trading Sequence          June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial




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No.     Date               Description                        Relevance               BegDocID        EndDocID   Deft Objections
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
473    1/7/2011   MNOWAK Trading Sequence         June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
474   12/12/2011 GSMITH Trading Sequence          June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
475   1/18/2012   GSMITH Trading Sequence         June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
476   7/12/2012   GSMITH Trading Sequence         June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
477   7/12/2012   GSMITH Trading Sequence         June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
478   11/12/2012 CTRUNZ Trading Sequence          June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial




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No.     Date               Description                        Relevance               BegDocID        EndDocID   Deft Objections
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
479   3/21/2013   MNOWAK Trading Sequence         June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
480   5/15/2013   CTRUNZ Trading Sequence         June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
481    7/1/2013   GSMITH Trading Sequence         June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
482    7/1/2013   GSMITH Trading Sequence         June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
                  JEDMONDS and DTURNBULL
483   8/14/2013                                   June 20, 2021 that the                                         reserved pending
                  Trading Sequences
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial
                                                  Charts showing trading
                                                  sequence previously disclosed on                               Objections
484   11/19/2014 GSMITH Trading Sequence          June 20, 2021 that the                                         reserved pending
                                                  government expects to offer in                                 receipt of exhibit
                                                  its case-in-chief at trial




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No.     Date                Description                          Relevance               BegDocID      EndDocID   Deft Objections
                                                     Charts showing trading
                                                     sequence previously disclosed on                             Objections
485   1/15/2015   GSMITH Trading Sequence            June 20, 2021 that the                                       reserved pending
                                                     government expects to offer in                               receipt of exhibit
                                                     its case-in-chief at trial
                                                     Charts showing trading
                                                     sequence previously disclosed on                             Objections
486   5/11/2016   CTRUNZ Trading Sequence            June 20, 2021 that the                                       reserved pending
                                                     government expects to offer in                               receipt of exhibit
                                                     its case-in-chief at trial
                                                     Charts showing trading
                                                     sequence previously disclosed on                             Objections
487   6/13/2016   CTRUNZ Trading Sequence            June 20, 2021 that the                                       reserved pending
                                                     government expects to offer in                               receipt of exhibit
                                                     its case-in-chief at trial
                                                     Charts showing trading
                                                     sequence previously disclosed on                             Objections
488   7/11/2016   CTRUNZ Trading Sequence            June 20, 2021 that the                                       reserved pending
                                                     government expects to offer in                               receipt of exhibit
                                                     its case-in-chief at trial
                                                     Charts showing trading
                                                     sequence previously disclosed on                             Objections
489   10/22/2008 Barrier Option Trading Sequence     June 20, 2021 that the                                       reserved pending
                                                     government expects to offer in                               receipt of exhibit
                                                     its case-in-chief at trial
                                                     Charts showing trading
                                                     sequence previously disclosed on                             Objections
490   11/19/2008 Barrier Option Trading Sequence     June 20, 2021 that the                                       reserved pending
                                                     government expects to offer in                               receipt of exhibit
                                                     its case-in-chief at trial




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No.     Date                 Description                             Relevance               BegDocID   EndDocID   Deft Objections
                                                         Charts showing trading
                                                         sequence previously disclosed on                          Objections
491   3/11/2013   Barrier Option Trading Sequence        June 20, 2021 that the                                    reserved pending
                                                         government expects to offer in                            receipt of exhibit
                                                         its case-in-chief at trial
                                                         CME order book and market                                 Objections
                  CME RAPID data for Trading
492   Various                                            depth data for certain trading                            reserved pending
                  Sequences in GX 450 - 491
                                                         sequences                                                 receipt of exhibit
                                                         CME order book and market                                 Objections
                  CME full-day RAPID data for
493   Various                                            depth data for certain trading                            reserved pending
                  Trading Sequences in GX 450 - 491
                                                         sequences                                                 receipt of exhibit
                  CME RAPID and ARMADA data              CME order book and market                                 Objections
494   Various     excerpts of episodes involving         depth data for certain trading                            reserved pending
                  Quantlab                               sequences                                                 receipt of exhibit
                  CME RAPID and ARMADA data              CME order book and market                                 Objections
495   Various     excerpts of episodes involving         depth data for certain trading                            reserved pending
                  Susquehanna                            sequences                                                 receipt of exhibit
                  CME RAPID and ARMADA data              CME order book and market                                 Objections
496   Various     excerpts of episodes involving GSA     depth data for certain trading                            reserved pending
                  Capital                                sequences                                                 receipt of exhibit
                  CME RAPID and ARMADA data              CME order book and market                                 Objections
497   Various     excerpts of episodes involving         depth data for certain trading                            reserved pending
                  Citadel                                sequences                                                 receipt of exhibit
                                                                                                                   Objections
                  Summary Analysis of Trading            Summary statistics regarding
498   Various                                                                                                      reserved pending
                  Sequences in GX 450 - 457              certain trading sequences
                                                                                                                   receipt of exhibit
                  Order Size Analysis (GSMITH,                                                                     Objections
                                                         Analysis of certain orders sizes
499   Various     MNOWAK, CTRUNZ,                                                                                  reserved pending
                                                         for particular Tag50s
                  JEDMONDS)                                                                                        receipt of exhibit
                                                                                                                   Objections
500   6/9/2009    GSMITH Episode Animation               Trading sequence animation                                reserved pending
                                                                                                                   receipt of exhibit




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No.     Date               Description                      Relevance                 BegDocID        EndDocID    Deft Objections
                                                                                                                 Objections
501   12/17/2009 GSMITH Episode Animation         Trading sequence animation                                     reserved pending
                                                                                                                 receipt of exhibit
                                                                                                                 Objections
502   7/13/2010   MNOWAK Episode Animation        Trading sequence animation                                     reserved pending
                                                                                                                 receipt of exhibit
                                                                                                                 Objections
503   7/20/2010   MNOWAK Episode Animation        Trading sequence animation                                     reserved pending
                                                                                                                 receipt of exhibit
                                                                                                                 Objections
504   12/15/2010 MNOWAK Episode Animation         Trading sequence animation                                     reserved pending
                                                                                                                 receipt of exhibit
                                                                                                                 Objections
505    2/1/2011   GSMITH Episode Animation        Trading sequence animation                                     reserved pending
                                                                                                                 receipt of exhibit
                                                                                                                 Objections
506   7/21/2011   MNOWAK Episode Animation        Trading sequence animation                                     reserved pending
                                                                                                                 receipt of exhibit
                                                                                                                 Objections
507    6/7/2012   MNOWAK Episode Animation        Trading sequence animation                                     reserved pending
                                                                                                                 receipt of exhibit
                                                                                                                 Objections
508    2/6/2013   GSMITH Episode Animation        Trading sequence animation                                     reserved pending
                                                                                                                 receipt of exhibit
                                                                                                                 Objections
509    3/4/2013   MNOWAK Episode Animation        Trading sequence animation                                     reserved pending
                                                                                                                 receipt of exhibit
                                                                                                                 Objections
510   5/14/2013   GSMITH Episode Animation        Trading sequence animation                                     reserved pending
                                                                                                                 receipt of exhibit




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                                            Appendix A
            Defendants’ Objections & Counter-Designations to Certain Government Exhibits

GX 369 Transcript of CFTC Deposition of Michael Nowak (Vol. 1) (8/3/2010)

                             Govt.                                        Deft. Counter-
                                               Deft. Objections
                          Designations                                    Designations
                                             R. 802 hearsay; R. 403
                               1–6                                            None
                                           prejudice, confusion, delay
                              16–19                   None                     None
                              20–25                   None                  94:5–95:8
                                                                            26:4–28:5
                               28                     None
                                                                            29:7–30:12
                              33–35                   None                 138:4–139:18
                                            R. 401 relevance; R. 403,
                              46–48                                           None
                                           prejudice, confusion, delay
                                                                            97:9–99:8
                              50–53                   None
                                                                           111:3–113:11
                               57                     None                     None
                              72–73                   None                 61:11–62:25
                                                                             79:9–20
                              83–84                   None
                                                                            85:2–86:9
                             106–107                  None                     None
                                            R. 401 relevance; R. 403
                             219–220                                          None
                                           prejudice, confusion, delay

GX 370 Transcript of CFTC Deposition of Michael Nowak (Vol. 2) (8/4/2010)

                             Govt.                                        Deft. Counter-
                                                Deft. Objections
                          Designations                                    Designations
                                             R. 401 relevance; R. 403
                               265                                         266:1–267:16
                                            prejudice, confusion, delay




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                              Govt.                                       Deft. Counter-
                                                Deft. Objections
                           Designations                                   Designations
                                             R. 401 relevance; R. 403
                               347                                           348:1–12
                                            prejudice, confusion, delay
                               360                     None                  361:1–15
                                                                           313:8–318:14
                             381–385                  None
                                                                           435:5–437:23
                                             R. 401 relevance; R. 403
                               397                                             None
                                            prejudice, confusion, delay
                             440–442                   None                    None

GX 372 Transcript of CFTC Deposition of Christopher Jordan (Vol. 2) (9/16/2010)

                             Govt.                                        Deft. Counter-
                                               Deft. Objections
                          Designations                                    Designations
                                             R. 802 hearsay; R. 403
                               1–4                                             None
                                           prejudice, confusion, delay
                                                                            86:18–88:3
                             151–157             R. 802 hearsay
                                                                             158:1–21

GX 373 Transcript of CFTC Deposition of Gregg Smith (2/17/2017)

                             Govt.                                        Deft. Counter-
                                               Deft. Objections
                          Designations                                    Designations
                                             R. 802 hearsay; R. 403
                               1–4         prejudice, confusion, delay;        None
                                                R. 401 relevance
                                            R. 401 relevance; R. 403
                                29                                             None
                                           prejudice, confusion, delay
                                            R. 401 relevance; R. 403
                              62–63                                          64:1–65:7
                                           prejudice, confusion, delay
                               135                     None                  136:1–12




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                             Govt.                                        Deft. Counter-
                                               Deft. Objections
                          Designations                                    Designations
                                                                             156:7–10
                                           R. 403 prejudice, confusion,
                             162–166                                        167:11–19
                                                      delay
                                                                          173:22–174:11

GX 375 Transcript of Deposition of Gregg Smith in Shak v. J.P. Morgan Chase & Co., 15 Civ. 994
(S.D.N.Y.) (11/15/2017)

                             Govt.                                        Deft. Counter-
                                               Deft. Objections
                          Designations                                    Designations
                             96–98                    None                  100:13–23
                                                                            126:10–15
                               139                    None                 126:18–127:9
                                                                          127:20–128:14
                                            R. 401 relevance; R. 403
                             150–153                                       163:7–164:12
                                           prejudice, confusion, delay
                                            R. 401 relevance; R. 403
                             247–248                                          None
                                           prejudice, confusion, delay
                                            R. 401 relevance; R. 403
                               252                                            None
                                           prejudice, confusion, delay




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                          CERTIFICATE OF SERVICE

      I, Matthew F. Sullivan, hereby certify that on May 5, 2022, I caused the

foregoing exhibit list to be electronically filed with the Clerk of Court by using the

Court’s electronic filing system, which will automatically send a notice of electronic

filing to the parties who have entered an appearance in this case.

                                                     /s/Matthew F. Sullivan
                                                    Matthew F. Sullivan
